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                  20 Civ. 06274 (LAK)
                     United States District Court

                                for the
                    Southern District of New York



                 IN RE TRANSCARE CORPORATION, ET AL.
                                                 DEBTORS,


          PATRIARCH PARTNERS AGENCY SERVICES, LLC, ET AL.

                                          DEFENDANTS-APPELLANTS,
                             —against—
          SALVATORE LAMONICA, AS CHAPTER 7 TRUSTEE OF THE JOINTLY-
         ADMINISTERED ESTATES OF TRANSCARE CORPORATION, ET AL.,

                                            PLAINTIFF-APPELLEE.



ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT FOR
    THE SOUTHERN DISTRICT OF NEW YORK (BERNSTEIN, J.)

IN RE: TRANSCARE CORPORATION, ET AL., CASE NO. 16-10407 (SMB)
   LAMONICA V. TILTON, ET AL., ADV. PROC. NO. 18-1021 (SMB)



          APPENDIX TO BRIEF FOR THE APPELLANTS


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                                                                                         Richard Maltz <rmaltz@maltzauctions.com>



  Transcare Bankruptcy Auction: 230+ Ambulance & 1,500+ EMS Support
  Devices
  1 message

  EMS World Special <ems@mail.emsworld.com>                                                                Mon, Apr 11, 2016 at 11:00 AM
  Reply-To: EMS World Special <ems@mail.emsworld.com>
  To: rmaltz@maltzauctions.com
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                            Located Throughout New York, Pennsylvania & Maryland

                                                                       275+ Ambulances/Vans/
                                                                       Buses & SUVs

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                                                                                        Richard Maltz <rmaltz@maltzauctions.com>



  RE: TEST-Bankruptcy Auction: 230+ Ambulance & 1,500+ EMS Support
  Devices
  1 message

  Monica Bragle <Monica.Bragle@praetoriandigital.com>                                                         Tue, Apr 12, 2016 at 1:02 PM
  To: Richard Maltz <rmaltz@maltzauctions.com>


     Richard,



     Here is the ﬁnal draĔ that was emailed out. Just sending for your records.



     Regards,



     Monica Bragle

     Customer Success Manager

     Praetorian Digital

     415-962-8333




     From : EMS1 Product Alert [mailto:ProductAlerts@EMS1.com]
     Sen t : Tuesday, April 12, 2016 12:01 PM
     To: Monica Bragle
     Su bject : TEST-Bankruptcy Auction: 230+ Ambulance & 1,500+ EMS Support Devices




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            TOP NEWS


                                                                                              EMTs take over
                                                                                              hazmat duties from
                                                                                              FDNY paramedics



                                                                                              Cleveland EMS
                                                                                              swears in first
                                                                                              female EMS
                                                                                              commissioner


           Paramedic treats suspect who shot at
           her cop husband

            Patient dies after Ga. ambulance                                Solutions sought for ND EMS
            crash : The heart patient went into cardiac                     volunteer shortage
            arrest and died; officials said the patient
                                                                            Milwaukee hospitals end ambulance
            didn't die as a result of the crash
                                                                            diversion policy
            Urban ATV riders show off
                                                                            Firefighters cut elderly man's lawn
            confrontations with paramedics and
                                                                            after he fell off mower
            cops on social networks : Police chief
            says videoing traffic disruptions is 'fun' for                  Ambulance thief sentenced to 16
            riders and social media is partly to blame for                  years for fatal crash
            increase in urban dirt bike riding
                                                                            EMT honored for saving
            Paramedics and EMTs celebrated as                               unconscious woman
            unsung heroes : The American
            Ambulance Association recognizes 103 EMS                        5 killed, including 2 toddlers, in
            providers from 29 states as 'Stars of Life'                     head-on Calif. crash




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            CL INICA L TOPICS                                 A MB UL A NCE DRIVER'S PERSPECT IVE

           ACS: What EMS providers need to                   Making friends with the ghosts
           know




                                                             By Kelly Grayson, EMS1 Columnist
           By Arthur Hsieh, EMS1 Columnist                   Realizing that no matter how skilled my hands
           Paramedic 12-Lead ECG acquisition and             or knowledgeable my head, what matters most
           interpretation drives decisions for               to my patients is my heart.
           pharmacological interventions and patient
           transport to PCI-capable centers.                 Developing emotional resilience

           What is ACS?

            PRODUCT NEWS                                      F EAT URED DEA L S


           Blauer Seeks Product Testers for Elite "Lead                       Sting-Ease (Medicaine)
           Weartester" Program                                                Swabs for Summer Only
                                                                              $2.99 from V.E. Ralph!
           Phoenix Fire Department Orders Demers MXP
           150 Ambulances

           More P roduct New s

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            EMS QUA L IT Y                                  CA PNOA CA DEMY

           Closing the loop on patient care

                                                           Pediatric anaphylaxis: How
                                                           capnography can help




           By Mike Rubin, EMS1 Columnist
           Using hospital outcomes to evaluate field
           performance.
                                                           By Bob Sullivan, EMS1 Columnist
           Field-level facts and figures                   Waveform capnography can be used to detect
                                                           respiratory and circulatory compromise from
                                                           anaphylaxis in children and to guide treatment.

                                                           Overview

            F REQUENT F LYERS                               NOW ON PA RA MEDICT V

           Ambulance history with Capt. Salty              Drones and medical helicopter safety




                                                           12-lead ECG interpretation tips



           Modern day ambulances are even larger.

           Read the comic


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            1,054 Joining EMS? Here's what you're
                     really getting into...
            676      Off-duty paramedic rushes to aid
                     injured police officer
            592      Paramedic physician: Is there such a
                     thing?
            520      3 essentials to cure hangry medic
                     syndrome
            518      Patient revived by Narcan attacks NY
                     paramedic




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  BANKRUPTCY
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                                                                            April 20th – May 12th




AUCTION
Complete Inventory of Multi-State Medical Transportation/EMS Business
      Located Throughout New York, Pennsylvania & Maryland

                                                        275+ Ambulances/Vans/
                                                        Buses & SUVs
                                                        1,500+ EMS Support Devices
                                                        & Much More...




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  available!
         Salvatore LaMonica, Chapter 7 Trustee • LaMonica Herbst & Maniscalco, LLP, Attorneys for the Chapter 7 Trustee


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                                                                                                                                                                                                                                                      PERMIT No. 1460




                                                                                                                                                  Richard B. Maltz, Auctioneer DCA# 1240836
                                                                                                                                                David A. Constantino, Auctioneer DCA# 1424944
                                                                                                                                                  Richard B. Maltz, Licensed Real Estate Broker




          April 20th – May 12th
  Complete Inventory of Multi-State
 Medical Transportation/EMS Business
 • Assets Sold Individually or in Small Groupings
 • 230+ Type I, Type II & Type III Ambulances
 • 45+ Invalid Coaches, Passenger Buses, Wheelchair
   Accessible Vans & Full Size Vans
 • 25+ SUVs
 • 1,500+ Ancillary Ambulance/EMS Support Equipment
    - ALS/BLS Kits - IV Pumps                 - Stair Chairs
    - Capnographs       - LSUs                - Stretchers
    - Defibrillators    - Monitors            - Ventilators
                       And Much More...
 • Communication Devices
   - Mobile Data Terminals with Voice Radios
   - XT 5000 Motorola Portable Radios                                                                                                               AUCTION DATE                                  LOCATION                               VIEWINGS
   - Sonim Phones                                                                                                                              Wednesday, April 20th                           25 14th Street                     9:00 am – 11:00 am
                                                                                                                                                   11:00 am                                    Brooklyn, NY                         Morning of Sale
   - I-Pad Minis
 • Medications                                                                                                                                   Wednesday, May 4th
                                                                                                                                                    11:00 am
                                                                                                                                                                                          718 S. Fulton Avenue
                                                                                                                                                                                            Mt. Vernon, NY
                                                                                                                                                                                                                                  9:00 am – 11:00 am
                                                                                                                                                                                                                                    Morning of Sale
   - See Web for Details
 • Office Equipment                                                                                                                                  Friday, May 6th
                                                                                                                                                       11:00 am
                                                                                                                                                                                            10 S. White Street
                                                                                                                                                                                            Poughkeepsie, NY
                                                                                                                                                                                                                                  9:00 am – 11:00 am
                                                                                                                                                                                                                                    Morning of Sale
   - Servers & Computers
   - Office Furniture                                                                                                                           Wednesday, May 11th
                                                                                                                                                    11:00 am
                                                                                                                                                                                              400 Seco Road
                                                                                                                                                                                              Monroeville, PA
                                                                                                                                                                                                                                  9:00 am – 11:00 am
                                                                                                                                                                                                                                    Morning of Sale
 • Miscellaneous
   - EMT Training Equipment                                                                                                                       Thursday, May 12th                        1125 Desoto Road                      9:00 am – 11:00 am
                                                                                                                                                      11:00 am                               Baltimore, MD                          Morning of Sale
   - Mechanical Maintenance Equipment, Tools, & Parts
   - Medical Supplies                                                                                                                                         TBA
                                                                                                                                                                                             39 Windsor Place                     9:00 am – 10:30 am
                                                                                                                                                                                             Central Islip, NY                      Morning of Sale
   - Telecom Equipment

Terms & Conditions of Sale: Assets sold in “as-is” condition & free and clear of all liens. A 25% deposit in cash or certified funds is required from all bidders upon knockdown of bid.
Any absentee or online bidders must post a deposit equal to 25% of maximum bid amounts at least 4 business days prior to auction. A 12.5% Buyer’s Premium will be added to the Successful
Bidder’s high bid to determine the contract price to be paid by the Successful Bidder. The assets will be sold subject to the complete Terms & Conditions of Sale that are subject to court approval.




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The Assets are being sold “AS IS” “WHERE IS”, “WITH ALL FAULTS”, without any representations, covenants, guarantees or warranties of any kind or nature, and free and clear of any liens, claims, or encumbrances. By delivering their respective Deposits, all
Bidders acknowledge that they have had the opportunity to review and inspect the Assets and will rely solely on their own independent investigations and inspections of the Assets in making their bids. Neither Maltz, the Trustee, the Attorney for the Trustee nor
any of their collective representatives makes any representations or warrantees with respect to the use or condition of the Assets. All Bidders acknowledge that they have conducted their own due diligence in connection with the Assets and are not relying on any

                                                                                                                             A0213
information provided by Maltz, the Trustee, the Attorney for the Trustee, or their professionals. All prospective bidders are urged to conduct their own due diligence prior to participating in the Public Auction. Bid rigging is illegal and suspected violations will be
reported to the Department of Justice for investigation and prosecution.
*Asset list subject to change.
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            BANKRUPTCY,     Bankruptcy
                           ESTATE,    LIQUIDATION    &  PUBLIC     ADMINISTRATOR         DIRECTED



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                                                                                                                                                                                                                                             March 30 th
                                                                                                                                                                                                                                                                     through

                                                                                                                                                                                                                                                   May 26th
                                              Thursday, April 14th at 11:00 am                                                                                                                                   Tuesday, May 10th at 1:00 pm
       #16-243                                                                                                #16-245                                                                                            #16-249




                                                                                                                                   Massapequa
                          glen cove
                                                                                                                                    4,700+ Sq Ft Building
                  5,300+ Sq Ft Luxury Office Condo                                                                                Traffic Light Intersection                                                                              Manhattan
              Prime Location in Heart of Downtown
                                                                                                                                  Immediate Sale Directed
                                                                                                                                                                                                                                             92 Key Boutique Hotel
                      Immediate Sale Directed
                                                                                                                         550 Broadway, Massapequa, NY                                                                                        Partially Constructed
              1 School St, Units 303A & 303B
                                                                                                         •    Two Story Freestanding Office Building
                      Glen Cove, NY                                                                                                                                                                                 Bankruptcy Auction • US Bankruptcy Court SDNY
                                                                                                         •    4,770 Sq Ft Building + 1,193 Sq Ft Basement                                                             In Re: D.A.B. Group LLC • Case # 14-12057 (SCC)

     • Adjoins
               $50 Million Mixed-Use Development Site                                                  •    Interior Gutted After Recent Fire                                                                   139-141 Orchard St, Lower East Side
     • Prime Legal, Medical or Other Professional Use                                                   •    $210,000 Opening Bid                                                                                         Manhattan, NY
     • Ideally Located Under One Mile to North Shore                                                                                                                                                        • 16 Story Steel Superstructure Complete
        University/Glen Cove Hospital & LIRR Station                                                                                                                                                         • Prime Location in Booming Market
     • 12 Minutes from Long Island Expressway                                                                #16-246
     • High-End/Finishes Throughout                                                                                                                                                                              Spectacular City Views
       (Former Prestigious Law Office)
     • Building Lobby Adjoins 4-Story Parking Garage
     • Previously Listed at $938,000 ($175/Foot)
     • $345,000 Opening Bid ($64/Foot)                                                                                            Lattingtown                                                                              Ronald J. Friedman, Chapter 11 Trustee
                                                                                                                                                                                                                   Silverman Acampora LLP, Attorneys for the Chapter 11 Trustee
                                                                                                                                    Two Sprawling Acres
                                                                                                                         Public Administrator Directed Auction
                                                                                                                                 In Re: The Estate of Alan Morreale
                                                                                                                                                                                                              thursday, May 26th at 11:00 Am
                                                                                                                18 Horse Hollow Rd, Lattingtown, NY
                                                                                                                                                                                                                 #16-251
       #16-244                                                                                           • Two Acres – Flat/Rolling & Highly Usable
                                                                                                         • Previously Improved with a 2,300 Sq Ft Home
                                                                                                            that has Suffered Extensive Fire Damage
                                                                                                         • $499,000 Opening Bid
                                                                                                                    Jeffrey E. DeLuca, Nassau County Public Administrator



                            baldwin                                                                           #16-247

                          6,500+ Sq Ft Building
                       Traffic Light Intersection                                                                                                                                                                                                     Bronx
           Bankruptcy Auction • US Bankruptcy Court EDNY                                                                                                                                                                           16,600+ Sq Ft Corner Building
             In Re: Grandsun Realty LLC • Case # 12-73158-LAS
                                                                                                                                       Bayside                                                                      Bankruptcy Auction • US Bankruptcy Court SDNY
               720 Sunrise Hwy, Baldwin, NY                                                                                                                                                                         In Re: NARCO FREEDOM, INC. • Case # 16-10123-SMB
                                                                                                                                     Two Bedroom Co-Op
     • P rime Location at Intersection of                                                                                                                                                                        2640-2652 Third Avenue, Bronx, NY
        Sunrise Highway & Grand Avenue                                                                               Bankruptcy Auction • US Bankruptcy Court EDNY
                                                                                                                                                                                                             • Located at Traffic Light Intersection
                                                                                                                        In Re: Edward H. Brennan • Case # 14-70109-LAS
     • Across from LIRR Baldwin Train Station                                                                                                                                                               •	Currently Utilized as Substance Abuse
     • 6,584 Sq Ft Building + 3,292 Sq Ft Basement                                                            73-47 217th St, Unit 364A1, Bayside, NY                                                           Inpatient Rehabilitation Center
     • Rooftop Billboard – Phenomenal Exposure                                                          • Located Within the Windsor Oak Complex                                                            • Elevator Building with Access to Each Floor
                   Marc A. Pergament, Chapter 7 Trustee                                                               R. Kenneth Barnard, Chapter 7 Trustee                                                               Alan Nisselson, Chapter 7 Trustee
       Weinberg, Gross & Pergament LLP, Attorneys for the Chapter 7 Trustee                               LaMonica, Herbst & Maniscalco, LLP, Attorneys for the Chapter 7 Trustee                         Windels Marx Lane & Mittendorf, LLP, Attorneys for the Chapter 7 Trustee


uesday, March 22
  Personal Property auctions                      USBC SDNY • In Re: A D Die Cutting & Finishing, Inc. • Case No: 816-70318-REG                                       USBC SDNY • In Re: Transcare Corp., et al. • Case # 16-10407 (SMB) Jointly Administered
                                                                                  Marc A. Pergament, Chapter 7 Trustee                                                                                     Salvatore LaMonica, Chapter 7 Trustee
                                                    #16-242                                                                        #16-248                                  #16-252

    #16-241




       central Islip                                long island city                                                                lindenhurst                                            NY, PA & MD                                                             Central Islip
   Jewelry, Art, Collectibles & More              Screen Printing / Die Cutting Plant                                             Vehicles, Equipment & More             200+ Fully Equipped Ambulances                                                         100-150 VEHICLES
   Wednesday, March 30              th
                                                  Thursday, April 7                            th
                                                                                                                                  Saturday, May 7     th
                                                                                                                                                                         Dates TBA                                                                              April 5th & 19 th, May 3rd & 17 th


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 BANKRUPTCY,16-10407-smb
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                                                                                                                                                                                                                MATERIAL                  GREENVILLE, SC
                                                                                                                                                                                                                                          PERMIT No. 1460
                                                                                                                                    Richard B. Maltz, Auctioneer DCA# 1240836
                                                                                                                                  David A. Constantino, Auctioneer DCA# 1424944
                                                                                                                                    Richard B. Maltz, Licensed Real Estate Broker




      March 30 th through May 26th

   glen cove                        baldwin                           Bronx                      manhattan




lattingtown                     Central Islip                    massapequa                         bayside

                                                                                                                                          Attention                                    All Lenders, Developers, Builders, Bankruptcy Trustees,
                                                                                                                                                                                       Executors, Brokers & Motivated Property Owners...

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      QUEENS                      NY, PA & MD                  lindenhurst                     Central Islip                                                     May 26th Multi-Property Event!
                                                                                                                                     Terms & Conditions of Sale: Assets sold free & clear of all monetary liens. Please visit
 7 properties throughout NY                                                                                                          www.MaltzAuctions.com for complete terms and conditions of sale for each auction.
                                                           &                                                                         Buyer Broker Participation: Up to a 2% commission may be paid to any properly licensed
                                                                                                                                     Buyer Broker who registers a successful buyer in accordance with the buyer broker guidelines. Please visit
   200+ Ambulances, Jewelry, Collectibles, Screen Printing Equip & More                                                              www.MaltzAuctions.com for all properites offering Broker Participation.


                                                     Wednesday, March 30th at 11:00 am | Registration begins at 9:00 am
                                                     Auction Location: Auctioneer’s Gallery, 39 Windsor Place, Central Islip, NY 11722
      ID#                                              DESCRIPTION/LOCATION                                                                                              VIEWINGS                                                      DEPOSIT

                                                                                                                                                                                                                                    25%
  #16-241                           Jewelry, Art, Vintage Toys, Collectibles & More                                                        Wednesday, March 30th • 9:00 am – 11:00 am                                         Cash/Cashier’s Check
                                                          Thursday, April 7th at 11:00 am | Registration begins at 9:00 am
                                                Auction Location: 47-00 33rd Street (Between 47th and 48th Avenues), Long Island City, NY 11101
                                 Fully Equipped Screen Printing / Die Cutting Plant                                                                                                                                                 25%
  #16-242                         47-00 33rd Street, Long Island City, NY 11101                                                                  Thursday, April 7th • 9:00 am – 11:00 am                                     Cash/Cashier’s Check
                                                       Thursday, April 14th at 11:00 am | Registration begins at 10:00 am
                                     Auction Location: NY LaGuardia Airport Marriott Hotel, 102-05 Ditmars Boulevard, East Elmhurst, NY 11369
                                     5,300+ Sq Ft Luxury Office Condo                                                                         Monday, April 4th • 12:00 noon – 2:00 pm                                              $34,500
  #16-243               1 School Street, Units 303A & 303B, Glen Cove, NY 11542                                                               Monday, April 11th • 12:00 noon – 2:00 pm                                           Cashier’s Check
                                  6,500+ Sq Ft Building at Traffic Light Intersection                                                            Monday, April 4th • 3:00 pm – 5:00 pm                                              $40,000
  #16-244                            720 Sunrise Highway, Baldwin, NY 11510                                                                      Monday, April 11th • 3:00 pm – 5:00 pm                                           Cashier’s Check
                                  4,700+ Sq Ft Building at Traffic Light Intersection                                                         Monday, April 4th • 12:00 noon – 2:00 pm                                              $21,000
  #16-245                             550 Broadway, Massapequa, NY 11758                                                                      Monday, April 11th • 12:00 noon – 2:00 pm                                           Cashier’s Check
                                               Two Sprawling Acres                                                                                                                                                                  $50,000
  #16-246                                                                                                                                                               Vacant Land
                                  18 Horse Hollow Road, Lattingtown, NY 11560                                                                                                                                                     Cashier’s Check
                                             Two Bedroom Co-Op                                                                                  Monday, April 4th • 9:00 am – 11:00 am                                              $15,000
  #16-247                     73-47 217th Street, Unit 364A1, Bayside, NY 11364                                                                 Monday, April 11th • 9:00 am – 11:00 am                                           Cashier’s Check
                                                            Saturday, May 7th at 9:00 am | Registration begins at 8:00 am
                                                     Auction Location: The Town Facility, 1025 North Indiana Avenue, Lindenhurst, NY 11757
                             Surplus & Abandoned – Vehicles, Equipment & More                                                                                                                                                       25%
  #16-248                    1025 North Indiana Avenue, Lindenhurst, NY 11757                                                                      Saturday, May 7th • 8:00 am – 9:00 am                                      Cash/Cashier’s Check
                    Tuesday, May 10th at 1:00 pm |                                         Only Qualified Bidders as Defined in Auction Sale Procedures are Qualified to Participate
                                                        Auction Location: The Hotel on Rivington, 107 Rivington Street, New York, NY 10002
                            92 Key Boutique Hotel - Partially Constructed                                                                                                                                                          $2,000,000
  #16-249           139-141 Orchard Street, Lower East Side, Manhattan, NY 10002                                                                             Available by Appointment                                             Cashier’s Check
                                                       Thursday, May 26th at 11:00 am | Registration begins at 10:00 am.
                                     Auction Location: NY LaGuardia Airport Marriott Hotel, 102-05 Ditmars Boulevard, East Elmhurst, NY 11369
                                      16,600+ Sq Ft Corner Building + Basement                                                                                                                                                      $200,000
  #16-251                             2640-2652 Third Avenue, Bronx, NY 10454                                                                                                 TBA                                                 Cashier’s Check
                                                                                                    Locations and Dates TBA
                                                                                  Advance Notice - See Web for Detailed Information
                                               200+ Fully Equipped Ambulances                                                                                                                                                       25%
  #16-252*                                                                                                                                                                    TBA
                                              Located Throughout NY, PA & MD                                                                                                                                                  Cash/Cashier’s Check

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contained herein was derived from sources deemed reliable, but is not guaranteed. Most of the information provided has been obtained from third party sources and has not been independently verified. It is the responsibility of the Buyer and/or Buyer’s
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Broker to determine the accuracy of all measurements and specifications of the assets. Each potential bidder is responsible for conducting his or her own independent inspections, investigations, inquiries, and due diligence concerning the assets, including
without limitation, environmental and physical condition of the assets. All prospective bidders are urged to conduct their own due diligence prior to participating in the Public Auction Sale. Bid rigging is illegal and suspected violations will be reported
to the Department of Justice for investigation and prosecution.
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Steven G. Storch, Esq.
Bijan Amini, Esq.
Avery Samet, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x
In re:                                                       Chapter 7

TRANSCARE CORPORATION, et al.
                                                             Case No.: 16-10407 (SMB)
                                             Debtors.        (Jointly Administered)
-------------------------------------------------------x
SALVATORE LAMONICA, as Chapter 7
Trustee for the Estates of TransCare                         Adv. Proc. No. __________
Corporation, et al.,

                 Plaintiff,

                 v.

LYNN TILTON, PATRIARCH
PARTNERS AGENCY SERVICES, LLC,
PATRIARCH PARTNERS, LLC,
PATRIARCH PARTNERS MANAGEMENT
GROUP, LLC, ARK II CLO 2001-1,
LIMITED, ARK INVESTMENT PARTNERS
II, L.P., LD INVESTMENTS, LLC,
PATRIARCH PARTNERS II, LLC,
PATRIARCH PARTNERS III, LLC,
PATRIARCH PARTNERS VIII, LLC,
PATRIARCH PARTNERS XIV, LLC,
PATRIARCH PARTNERS XV, LLC,
TRANSCENDENCE TRANSIT, INC., and
TRANSCENDENCE TRANSIT II, INC.

                  Defendants.
-------------------------------------------------------x




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       Salvatore LaMonica, as Chapter 7 Trustee (the “Trustee”) of the jointly-administered

estates of TransCare Corporation et al. 1 (collectively, “TransCare”), hereby alleges:

                                       INTRODUCTION

       1.      Prior to its February 2016 bankruptcy filing, TransCare provided vital emergency

medical transportation services to hospitals and communities throughout the Northeast.

TransCare also operated disability transportation services for municipal authorities, such as the

New York City Transit Authority (the “MTA”).

       2.      As the sole member of TransCare’s board of directors, Lynn Tilton owed

TransCare her undivided and unselfish loyalty.

       3.      By 2015, after years of under-investment, TransCare lacked the financial ability

to fund payroll, pay vendors or obtain insurance on its own. To safely transport patients to

hospitals, TransCare’s employees were forced to pay fuel and tolls out of their own pocket.

Faced with this financial crisis and budding public health emergency, TransCare’s executives

pleaded with Tilton to allow them to recapitalize the company. They brought her potential

purchasers who were ready, willing and able to pay TransCare millions of dollars, which was

more than enough to fund TransCare’s growth and stabilization plans.

       4.      Tilton, ignoring her fiduciary duties, rejected these offers and instead sought to

strip TransCare of its most profitable business units for the benefit of herself and her companies




1
  The jointly-administered estates are as follows: TransCare Corporation, TransCare New York,
Inc., TransCare ML, Inc., TC Ambulance Group, Inc., TransCare Management Services, Inc.,
TCBA Ambulance, Inc., TC Billing and Services Corporation, TransCare Westchester, Inc.,
TransCare Maryland, Inc., TC Ambulance North, Inc., TransCare Harford County, Inc.,
TransCare Pennsylvania, Inc., TC Ambulance Corporation, and TC Hudson Valley Ambulance
Corp.



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(referred to hereafter as “Patriarch” and together with Tilton, the “Defendants”), 2 including

Patriarch Partners Agency Services LLC (“PPAS”), the administrative agent on a TransCare

term loan owed primarily to other Tilton-owned and Tilton-controlled entities.              While

TransCare’s executives were pleading for funds to make payroll, Patriarch executives under her

direction were advising her on plans to seize the same TransCare assets that Tilton would not let

TransCare sell.

       5.      On the initial petition date of February 24, 2016, Tilton – working both sides of

the transaction and against TransCare’s interests – purported to have Patriarch entities

“foreclose” on TransCare’s most profitable units and transfer them to new companies controlled

by her and which as a group were called Transcendence. Tilton’s ill-conceived “foreclosure”

plan revealed Tilton’s motivation for her otherwise inexplicable directives forbidding TransCare

to recognize value from its assets. It was so outrageous that it collapsed of its own accord within

hours of going live. Even so, Patriarch employees under Tilton’s command continued to plot to

steal TransCare’s assets under cover of night.

       6.      As a result of this egregious conduct, TransCare suddenly collapsed, jeopardizing

public safety and leaving it without any operating business units to sell for the benefit of its

creditors. TransCare’s employees, who worked for weeks without pay while Tilton tried to steal

the company’s assets, were left with large unpaid wage claims. This ruinous scenario was




2
  The term “Patriarch” refers to all of the defendants other than Tilton: Patriarch Partners Agency
Services, LLC, Patriarch Partners, LLC, Patriarch Partners Management Group, LLC, Ark II
CLO 2001-1, Limited, Ark Investment Partners II, L.P., LD Investments, LLC, Patriarch
Partners II, LLC, Patriarch Partners III, LLC, Patriarch Partners VIII, LLC, Patriarch Partners
XIV, LLC, Patriarch Partners XV, LLC, Transcendence Transit, Inc., and Transcendence Transit
II, Inc. The relationships between these Patriarch entities will be described below.



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exactly what TransCare’s executives had warned Tilton would come to pass, but which Tilton

ignored due to her own conflicts of interest.

       7.      By this action, the Trustee seeks damages resulting from Tilton’s breach of the

duty of loyalty. The Trustee also objects to Patriarch’s claims and seeks to equitably subordinate

them, or, in the alternative, seeks to obtain damages against Patriarch for abusing its position as

lender or to recharacterize the purported loans to TransCare as equity investments.

                                         THE PARTIES

       8.      Plaintiff is the Trustee for TransCare’s jointly-administered estates: TransCare

Corporation, TransCare New York, Inc., TransCare ML, Inc., TC Ambulance Group, Inc.,

TransCare Management Services, Inc., TCBA Ambulance, Inc., TC Billing and Services

Corporation, TransCare Westchester, Inc., TransCare Maryland, Inc., TC Ambulance North, Inc.,

TransCare Harford County, Inc., TransCare Pennsylvania, Inc., TC Ambulance Corporation, and

TC Hudson Valley Ambulance Corp.

       9.      TransCare consisted of Delaware corporations – with the parent company being

TransCare Corporation – and had its corporate headquarters in Brooklyn, New York. TransCare

provided essential public safety services, including 911 ambulance services, in New York,

Pennsylvania and Maryland. TransCare employed over 1,800 employees, including emergency

medical technicians, drivers and mechanics.

       10.     Lynn Tilton was the sole director of TransCare and in fact was referred to as the

“Board.” She is also the sole owner, chief executive officer and principal/ manager of the

Patriarch family of companies, including Patriarch Partners Agency Services LLC. Tilton claims

to be a resident of Florida.




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          11.   Patriarch Partners Agency Services LLC is a Delaware limited liability

corporation headquartered in New York City, at 1 Liberty Street, 35th Floor. PPAS is the

administrative agent for multiple lenders – including Ark II CLO 2001-1, Limited and Ark

Investment Partners II, L.P. – under the Credit Agreement with TransCare dated August 4, 2003,

as amended (the “Credit Agreement”).

          12.   Patriarch Partners Management Group, LLC is a Delaware limited liability

corporation headquartered in New York City, at 1 Liberty Street, 35th Floor.

          13.   LD Investments, LLC is a Delaware limited liability corporation headquartered in

New York City, at 1 Liberty Street, 35th Floor. The sole members of LD Investments, LLC is

Tilton.

          14.   Patriarch Partners, LLC is a Delaware limited liability corporation headquartered

in New York City, at 1 Liberty Street, 35th Floor. The sole member of Patriarch Partners, LLC is

LD Investments, LLC.        The website for Patriarch Partners, LLC describes itself as an

“investment firm.”

          15.   Patriarch Partners II, LLC is a Delaware limited liability corporation

headquartered in New York City, at 1 Liberty Street, 35th Floor. The sole member of Patriarch

Partners II, is LD Investments, LLC.

          16.   Ark II CLO 2001-1, Limited is a Delaware limited liability corporation

headquartered in New York City, at 1 Liberty Street, 35th Floor. The sole shareholder and

collateral manager of Ark II CLO 2001-1, Limited is Patriarch Partners II, LLC. Ark II CLO

2001-1, Limited holds about a 55.7% stock interest in TransCare Corporation and is a lender

under the Credit Agreement.




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          17.   Patriarch Partners III, LLC is a Delaware limited liability corporation

headquartered in New York City, at 1 Liberty Street, 35th Floor. The sole member of Patriarch

Partners III, LLC is Tilton.

          18.   Ark Investment Partners II, L.P. is a Delaware limited partnership headquartered

in New York City, at 1 Liberty Street, 35th Floor. Patriarch Partners III, LLC is a limited partner

in Ark Investment Partners II, L.P. and holds a 99% stock interest in Ark Investment Partners II,

L.P., along with serving as its investment advisor. Ark Investment GP II, LLC is the general

partner in Ark Investment Partners II, L.P. Ark Investment Partners II, L.P. holds about a 5.57%

stock interest in TransCare Corporation.

          19.   Patriarch Partners VIII, LLC is a Delaware limited liability corporation

headquartered in New York City, at 1 Liberty Street, 35th Floor. At all times relevant hereto,

Patriarch Partners VIII, LLC was the collateral manager for Zohar CDO 2001-1, Limited, a

lender under the Credit Agreement. Patriarch Partners VIII, LLC is indirectly owned and

controlled by Tilton.

          20.   Patriarch Partners XIV, LLC is a Delaware limited liability corporation

headquartered in New York City, at 1 Liberty Street, 35th Floor. At all times relevant hereto,

Patriarch Partners VIII, LLC was the collateral manager for Zohar II 2005-1, Limited, a lender

under the Credit Agreement. Patriarch Partners XIV, LLC is indirectly owned and controlled by

Tilton.

          21.   Patriarch Partners XV, LLC is a Delaware limited liability corporation

headquartered in New York City, at 1 Liberty Street, 35th Floor. At all times relevant hereto,

Patriarch Partners VIII, LLC was the collateral manager for Zohar III, Limited, a lender under

the Credit Agreement. Patriarch Partners XV, LLC is indirectly owned and controlled by Tilton.



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           22.   Transcendence Transit, Inc. is a Delaware corporation headquartered in New

York City, at 1 Liberty Street, 35th Floor. The sole director of Transcendence Transit, Inc. is

Tilton. As discussed below, Tilton directed valuable TransCare assets to be transferred to

Transcendence Transit, Inc. and/ or Transcendence Transit II, Inc.

           23.   Transcendence Transit II, Inc. is a Delaware corporation headquartered in New

York City, at 1 Liberty Street, 35th Floor. Transcendence Transit II, Inc. is a wholly-owned

subsidiary of Transcendence Transit, Inc.         As discussed below, Tilton directed valuable

TransCare assets to be transferred to Transcendence Transit, Inc. and/ or Transcendence Transit

II, Inc.

                                  JURISDICTION AND VENUE

           24.   This Court has jurisdiction over this proceeding pursuant to 28 U.S.C § 1334

because this action arises in or relates to a case under title 11 of the United States Code (the

“Bankruptcy Code”). The Court also has jurisdiction over this matter pursuant to 28 U.S.C. §

1331 as this action arises, in part, under the laws of the United States.

           25.   This is a core proceeding as defined in 28 U.S.C. § 157(b)(2).

           26.   To the extent any portions of this complaint are non-core, the Bankruptcy Court

may hear the claims and issue findings of fact and conclusions of law and the Trustee consents to

the Bankruptcy Court issuing a final order.

           27.   Venue in this district is proper pursuant to 28 U.S.C. § 1409 because this action

arises in or relates to a case under the Bankruptcy Code that is pending before this Court.

                                         BACKGROUND

           28.   TransCare was incorporated in 1993. In 2002, Tilton, through a wholly-owned

fund, Ark II CLO 2001-1, Limited (“Ark II”), purchased approximately 51% of TransCare’s



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outstanding senior secured credit facility before TransCare filed its pre-negotiated bankruptcy.

After filing bankruptcy in 2002, TransCare’s pre-negotiated plan provided for it to emerge as

reorganized entities in March 2003, to issue approximately 51% of the shares in the reorganized

TransCare to entities owned by Tilton, and to replace the existing senior secured credit facility

with new secured notes. The pre-negotiated plan provided for two entities owned by Tilton

(defendants Ark II and Ark Investment Partners II L.P.) to receive approximately 51% of the

new secured notes, with her entities having the ability to act on behalf of the entire $33.5 million

in replacement senior secured debt to be issued.

       29.     By a Credit Agreement dated August 4, 2003 (the “Credit Agreement”),

TransCare – as now majority-owned by the Ark II and Ark Investment Partners II L.P. – issued

debt obligations to those two entities (with a minority stake held by other pre-petition senior

secured creditors). PPAS served as the administrative agent for the Credit Agreement. Pursuant

to the Credit Agreement, TransCare granted PPAS a senior secured lien on all of its assets.

       30.     Among other things, the Credit Agreement provided that PPAS could waive

TransCare’s payment of principal or interest. In fact, the sole person at Patriarch who could

determine whether such a waiver would be granted was Tilton, the sole person in control of

TransCare. Each month Patriarch employees, acting at Tilton’s direction, instructed TransCare

employees to make interest payments to PPAS based upon Patriarch’s needs, not TransCare’s.

Tilton so favored Patriarch that she ordered TransCare to make payments that were otherwise

needed for essential TransCare services such as payroll and ambulance maintenance. Patriarch

employees controlled the calculation and timing of all interest payments. Tilton prohibited

TransCare from refinancing the PPAS debt obligation. After obtaining control of the loan in




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2003, TransCare paid PPAS around $3 to $4 million dollars a year, primarily at a rate of 12%

interest stemming from the 2003 restructured debt obligations.

          31.   Tilton controlled both PPAS/ Patriarch and TransCare at the time of the Credit

Agreement and all amendments thereto, initially via her majority shareholder interest in

TransCare and later pursuant to serving as the sole director. 3 The contracts entered into between

Patriarch and TransCare were not arm’s-length transactions due to the control exercised by

Tilton and Patriarch over TransCare, the lack of disinterested TransCare board directors, and the

absence of counsel for TransCare separate from lawyers advising TransCare on Patriarch’s

behalf.

          32.   To fund the operations of the company, TransCare entered into a revolving credit

facility with Wells Fargo, N.A. dated October 13, 2006. Pursuant to an October 13, 2006

intercreditor agreement between PPAS and Wells Fargo, Wells Fargo had a first lien on all of

TransCare’s assets and account receivables, including TransCare’s right to receive payments

from the MTA pursuant to Contract No. 07H9751, as amended (the “MTA Contract”). Under

the MTA Contract, TransCare would provide paratransit services for the MTA’s customers using

vehicles leased from the MTA.        The MTA Contract constituted one of TransCare’s most

profitable business operations.

          33.   PPAS took a first lien position only on TransCare’s vehicles only (in addition to

miscellaneous physical assets, such as computers). PPAS agreed that it would not take any

action to foreclose or otherwise enforce any lien as to which it was junior to Wells Fargo.



P
  Despite repeated requests from the Trustee, Patriarch has been unable to produce copies of any
of the TransCare board resolutions, including the board resolution(s) providing for Tilton to
become TransCare’s sole director, and the Trustee cannot determine when exactly Tilton became
the sole director.


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       34.     Patriarch operated wholly under Tilton’s control and pursuant to her directives,

particularly with respect to all of the acts and failures to act alleged herein. At all relevant times,

Patriarch operated as a wholly-integrated entity and – via Patriarch and her TransCare Board role

– Tilton controlled TransCare and received benefits from her control of both TransCare and

Patriarch.

Corporate Governance at TransCare

       35.     Tilton exercised an extraordinarily high level of control and domination over the

operations of TransCare.

       36.     Pursuant to a July 2012 Written Consent of the Sole Director, Tilton issued an

authority matrix prohibiting any TransCare officer from a wide range of activities, including,

“disclos[ing] any financial or shareholder information of the Company or its subsidiaries to any

third party[;]” entering into any contract not contemplated by the “Annual Plan,” engaging legal

counsel, and allowing only a “Designated Executive” to undertake certain limited functions.

However, at least as of 2015, Tilton had not designated any Designated Executive and had not

approved an Annual Plan. As a result, all such powers remained only in the Board and, as

TransCare employees well knew, was synonymous with Tilton.4

       37.     Brian Stephen, a lawyer employed at Patriarch but claiming to represent

TransCare’s Board, gave further gloss to these restrictions. For example, he explained to Glen

Leland, TransCare’s Chief Executive Officer, that Leland was prohibited from taking even

preliminary steps to actions requiring Board approval.           Considering the breadth of those



4
  Tilton has advised the Trustee that as sole member of TransCare’s board of directors she
maintained no Board Minutes or Minute Book, but instead maintained all of TransCare’s board
resolutions in a special folder. Tilton has been unable to produce this folder to the Trustee.


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categories of actions, this instruction prohibited almost all independent action by TransCare’s

executives.

        38.     Despite this level of control, Tilton barred TransCare’s executives, including its

Chief Executive Officer, from communicating directly with her. Instead, she required them to

communicate through her employees at Patriarch.         At the same time, she empowered her

Patriarch employees to give direction to TransCare’s executives. During the period preceding

TransCare’s bankruptcy, those employees included Stephen, Jean-Luc Pelissier (an Executive

Managing Director), Michael Greenberg (an analyst), Randy Jones (a Managing Director) and

Scott Whalen (Patriarch’s Chief Financial Officer and Tilton’s son-in-law).         Stephen and

Pelissier, in particular, enforced Tilton’s desire to limit communications from Leland. They told

him that his reports were too negative and that negative comments could be discoverable in

future litigation.

        39.     Through this arrangement, Patriarch executives hired and fired employees,

directed the payment or non-payment of vendors and gave direct orders to TransCare employees.

On multiple occasions, Patriarch employee Michael Greenberg executed amendments to the

PPAS credit facility on behalf of TransCare, causing TransCare to incur additional indebtedness

and liens to Patriarch under a variety of putative terms. For all transactions with Patriarch and

TransCare, Tilton executed the documents on behalf of Patriarch. TransCare lacked independent

counsel on any transaction with Patriarch. In short, Tilton and Patriarch exercised complete

dominion and control over TransCare.

Events Leading Up to 2015 Financial Crisis

        40.     In 2012, 2013 and 2014, TransCare had net revenues of approximately $130

million and positive EBITDA. However, TransCare’s costs grew and it began losing lucrative



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clients because of its inability to invest in new vehicles. TransCare’s executives were advised

that not paying bills on time and in full was the “Patriarch way.” As a result, its account

payables grew and critical vendors went unpaid. During the same years, TransCare paid over

$11 million to PPAS for the loans. In 2012, PPAS modified the Credit Agreement to provide

TransCare with an additional $2 million.

       41.     TransCare’s most profitable business unit was its MTA Contract to provide

paratransit services. This unit historically generated revenues of approximately $22 million and

EBITDA of $3.7 million. However, by early 2015, the MTA had indicated a reluctance to renew

TransCare’s contract – scheduled to expire in summer 2015 – due to TransCare’s deteriorating

financial condition. Among other things, TransCare was having problems obtaining replacement

parts for MTA vehicles; even though the MTA compensated TransCare for such parts, TransCare

had such poor credit that parts suppliers would not do business with it.

In Early 2015, Tilton Refuses to Allow TransCare to Sell Assets Even as It Lacked Cash to Fund

Payroll and Operations

       42.     By February 4, 2015, TransCare’s financial situation had become so dire that its

executives warned Tilton that the company lacked the cash to make payroll the following day.

They further advised that the company faced a projected $6.7 million shortfall between February

4 and the end of March 2015. Moreover, TransCare’s essential vendors, such as its EZ-Pass

account, suspended service due to chronic non-payment. Without access to tolls, TransCare’s

emergency ambulances could not reach hospitals without the EMTs paying the tolls out of their

own funds and having to wait in the longer cash lanes. TransCare’s executives recommended

either further investment by Patriarch in TransCare or an immediate and harsh reduction in

headcount.



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       43.     On February 5, 2015, Leland advised Patriarch of “a new alternative to the

emergency cash request and accelerated recovery plans we put forward to the you and the Board

yesterday.” Leland explained that National Express, “an international transit services leader”

sought to purchase TransCare’s MTA Contract with an offer estimated at $15 to $18 million.

       44.     Leland explained that National Express “[has] been researching our situation and

believe[s] that the hold up on our contract renewal is our unstable financial condition. They

further noted that if we do not renew the contract, the likely action of the MTA would be to

distribute our business to other small vendors, which eliminates their opportunity.” Leland

further explained National Express’ valuation process which, based upon TransCare’s paratransit

financial metrics, would translate into a $17 to $18 million valuation for the paratransit business.

Finally, Leland advised that National Express had offered an immediate payment of $1.7 million

as a non-refundable deposit in an option to begin negotiations towards a final transaction.

       45.     In response, Tilton called Leland herself. This was the only time that she ever

contacted her CEO directly. Tilton berated the CEO for daring to explore a sale option and then

hung up on him. Next, Stephen called the CEO to reiterate that the CEO had no authority to

even discuss sale options of any assets with any company. Stephen also claimed that TransCare

would not receive any of the potential sale proceeds because “Lynn has other debts.” Finally,

Pelissier called the CEO as well to reiterate that under no circumstances could he attempt to raise

funds by exploring potential sales.

       46.     Also in February 2015, RCA Ambulance Service also expressed interest in

purchasing TransCare to Tilton and to TransCare. Tilton similarly refused to engage or to

authorize TransCare’s executives to consider RCA’s offer.




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          47.   On February 18, 2015, Leland prepared a draft Stabilization Plan for Patriarch’s

review.     He noted that “TransCare is not a viable on-going concern without immediate

investment and assertive course correction.” (emphasis in original). Once again, he noted that

TransCare required an immediate infusion of cash just to remain in business. Once again, he

informed Patriarch that there was alternative to total collapse; TransCare could to sell the MTA

business to obtain “$14 to $17M to use for immediate financing activities for remaining

ambulance service business.”

          48.   He further explained that “We are working this week with clarity that the payroll

for this work cannot be funded from internal cash flows or credit vehicles. I continue the

operations because I am certain the company recognizes its liability and therefore will pay

employees. But there comes a point where that can no longer be a valid assumption.”

          49.   Tilton still refused TransCare permission to explore the sale of any assets.

Nevertheless, she was forced to authorize Patriarch to lend additional funds to TransCare in

order to make payroll.

In Summer 2015, Tilton Again Refuses to Sell Assets to Fund Payroll and Operations

          50.   In June 2015, TransCare’s executives once again warned Tilton that the company

risked missing payroll and needed to either recapitalize or sell assets immediately:

                -   “TransCare continues to operate on a very thin line of cash and
                    is only paying bills essential to its immediate operation.”

                -   “We propose to accelerate the business plan into Phase 2 with
                    an immediate loan of $5M. If Patriarch Partners is unable or
                    unwilling to provide these funds, we request permission to seek
                    alternative sources of financing.”

                -   “Under normal circumstances a company like TransCare with
                    threats to on-going operations, would seek protection from
                    creditors thru bankruptcy. We are told that is not an option
                    within the Patriarch portfolio, which leaves a debt

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                     consolidation loan to satisfy critical vendors, remain viable,
                     refocus leadership on improved positioning and resolve
                     reputation deficits.”

               -     “If TransCare were to shut down suddenly because of loss of
                     key suppliers and facilities, it faces a liability of as much as
                     $15.45M in wages and benefits. About 70% of TransCare
                     payroll is for New York employees which have a 90-day
                     WARN act liability as compared to the 60-day standard in
                     other markets.”

       51.         On June 5, 2015, TransCare’s executives warned that they lacked the necessary

funds to pay PPAS and make payroll and fund necessary disbursements. In response, Michael

Greenberg of Patriarch told TransCare’s CFO that Tilton, as sole member of TransCare’s board

of directors, was specifically ordering the payment of interest to PPAS despite TransCare’s

financial situation: “The Board directed that I advise you that interest must be paid today.”

       52.     After further pleading by TransCare’s executives, Pelissier informed TransCare

that “we have re-approached the subject of interest payment today with the board. TransCare

must pay interest today as PPMG is not the only lender.” 5

       53.     Later that evening, Leland again advised Patriarch:

               we are highly skeptical that TransCare can sustain its critical
               supply chain and insurance if it makes the required interest
               payment and continues to postpone back payroll tax deposits. …
               [W]ant to be certain the Board is fully advised that this action
               could force either a substantial loan, as we have requested, or
               force cessation of operations.

       54.     On July 3, 2015, TransCare missed payroll after bouncing a check to pay for

necessary insurance. Shortly thereafter, the New York Department of Health warned TransCare

that failure to provide immediate assurances to fund payroll would cause the Department to issue

5
 PPMG is another Patriarch entity, Patriarch Partners Management Group, LLC. Patriarch did
not typically differentiate between its various entities in its dealings with TransCare.



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a Public Safety Emergency alert and direct the regional emergency medical services to seek

alternative means of ensuring emergency ambulance services, effectively shutting TransCare out

of its New York medical operations.

        55.     On July 6 and 9, 2015, TransCare’s CEO again raised the National Express offer

with Patriarch: “TransCare is running out of fuel. Literally. All of our fuel accounts have been

frozen, our EZ Pass toll is depleted and we do not have money to turn th[e] accounts back on.

We consumed about $2k of employee personal funds and other cash on hand last night to sustain

operations. We are literally hours away from wide spread gasoline and EZ Pass outage. … We

have been re approached by National Express which is interested in acquiring the MTA contract,

as I have reported in the past…. Am I authorized to accept the deposit and continue operations?”

        56.     On July 10, 2015, Leland informed Patriarch that he had received offers to buy all

or parts of TransCare from two separate national ambulance companies in addition to National

Express.

        57.     Also on July 10, 2015, National Express delivered a signed Letter of Intent to

TransCare offering to buy TransCare’s MTA paratransit business for $6 to $7 million plus the

assumption of $2 million in related liabilities. Leland forwarded the offer to Patriarch.

        58.     Minutes later, Tilton’s son-in-law, Scott Whalen, denied Leland permission: “LOI

is way premature. We have yet to review the business strategy. … [T]his will have to be made

clear to them that the business is not for sale at this time.”

        59.     On July 13, 2015, Whalen again wrote to Leland seeking to prevent any public

acknowledgment that TransCare or portions of TransCare might be for sale: “I would hate to

have the LOI hanging out there and for National Express to tell people they are ‘buying

TransCare’ is the issue.”



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       60.     Leland confirmed in writing: “to be clear … you want me to: … contact National

Express and tell them ‘TCP is not for sale’ per Patriarch Partners.” Whalen confirmed, despite

the dire straits that TransCare was in, that this was exactly what Patriarch and his mother-in-law

Tilton were ordering.

       61.     On July 8 and 16, 2015, Tilton caused Patriarch to lend over $1.3 million to

TransCare to fund payroll, bounced checks and immediate needs.

TransCare’s Financial Condition Deteriorates as Tilton Refuses Sale

       62.     Tilton’s refusal to recapitalize the company jeopardized TransCare’s ability to

perform its safety mission and eroded the operational capabilities which TransCare could have

monetized in a sale to a third-party. All the while, Tilton insisted that TransCare make its

monthly interest payments to PPAS.

       63.     For example, on July 14, 2015, the head of TransCare’s paratransit division

reported:

               We are in dire straits right now, as you are aware, with ordering
               parts, tires, doing employee finger printing, getting uniforms.
               [TransCare paratransit] shop has been cannibalizing parts from
               vehicles that are out waiting for engines to be shipped (we can’t
               place orders since we have been shut off by CADI [TransCare’s
               auto parts supplier])

       64.     When Leland explained to Patriarch that the ambulances needed to be replaced

every few years in order to run safe and profitably, Pelissier responded that he owned a private

airplane that was fifty years old, such that the vehicle’s age did not matter.

       65.     On August 10, 2015, Leland warned Patriarch that operating the company on

fumes was causing a breakdown in employee morale:

               Massive amount of employees have either resigned or given notice.
               Project Mgr., OPS mgr, disp mgr, 2 disp sups, 6 dispatchers, 20
               drivers have resigned in last 10 days. Unsuccessful in recruiting
               due to our past delayed payroll problems (word is out on the street)
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               – working on doing some in-house promotions on a trial basis just
               to fill open slots at lesser money.

       66.     On October 7, 2015, Leland again pleaded with Patriarch that TransCare could

not afford to both continue operations and pay Patriarch:

               I understand that the Board has directed TransCare to issue the
               interest payment to Patriarch today. This despite the fact that the
               company will not have adequate funds to make its payroll
               tomorrow.

       67.     Patriarch instructed Leland to make interest payments to PPAS, while also

instructing Leland to (a) have employees pay for fuel themselves and (b) to cease paying

employee payroll taxes to the Internal Revenue Service.

       68.     On December 8, 2015, Leland advised Patriarch that the head of TransCare’s

MTA paratransit division was resigning due to frustration with the lack of resources. Leland also

advised that National Express had again contacted him “to see if there is any interest in selling.”

Leland recommended immediate discussions with National Express and to use the proceeds from

the sale (or solely the deposit) to fund a plan to save as much of the ambulance business as

possible. At this point, Leland advised Patriarch that TransCare could receive $6 to $8 million

dollars from the sale.

       69.     Stephen wrote back to Leland the next day, reminding him that he needed

approval from the Board prior to entering into any discussions.

       70.     On December 16, 2015, Leland told Patriarch that “Nat’l Express Called a few

times yesterday. … They reiterate that the letter they sent before, offering to buy the TC

Paratransit contract, is ‘still out there.’ I am awaiting direction. My recommendation is to

immediately respond and negotiate a sale of the contract…. Waiting further does not seem to be

in best interest of company.”



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       71.     On December 17, 2015, Leland told Patriarch that “to avoid a shutdown we

should reopen selling the MTA contract to National Express.” Greenberg and Stephen told

Leland that they were working on a number of issues but would pass it on.

Patriarch’s Plan

       72.     While TransCare was pleading to monetize its valuable asset so as to fund payroll

and life-saving operations, Tilton was working on a plan to acquire that same asset for Patriarch.

       73.     By December 16, 2015, Tilton had advised Wells Fargo that it had determined to

sell TransCare.

       74.     On December 18, 2015, Greenberg emailed Tilton his research on

                                            and

                    Greenberg reported that

                                                               At this point, TransCare’s MTA

paratransit unit had revenues of more than $20 million and EBITDA of more than $2.2 million.

Had Tilton allowed Patriarch to sell the paratransit business, these numbers would imply a

valuation of between      and      million, vastly more than the amount needed to pay employees

and recapitalize TransCare. Greenberg also recounted how



       75.     In late December, Tilton and Patriarch submitted a proposal to Wells Fargo to sell

TransCare’s assets by September 2016.

       76.     On January 9, 2016, Glenn Leland quit as CEO of TransCare. On January 11,

2016, Tilton hired Carl Marks & Co., Inc. (“Carl Marks”) to serve as restructuring advisors for

TransCare and to report to Tilton. During this period, TransCare’s last remaining C-level officer




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– its Chief Operating Officer – lacked authority to make any business decisions without

Patriarch’s approval.

        77.     By a Credit Agreement dated January 15, 2016, Ark II committed to make $6.5

million available to TransCare Corporation for working capital and general corporate purposes

(the “Ark Credit Agreement”). TransCare provided guarantees and liens to Ark II in connection

with the Ark Credit Agreement. Ark II was controlled by Tilton and operated as part of the

integrated Patriarch entities.

        78.     Ark II filed a proof of claim alleging that it had lent $1,862,925.77 to TransCare,

but the Trustee’s investigation has not uncovered proof that the funds were paid to TransCare

and Patriarch has been unable to provide such proof to the Trustee, despite requests to do so. 6

Regardless, Ark II ultimately did not make the promised $6.5 million amount available to

TransCare, and Patriarch and Tilton instead decided to take TransCare’s most valuable assets for

themselves and cause TransCare to file for bankruptcy in order to ensure that the assets would

not be available to satisfy claims against TransCare’s bankruptcy estates.

        79.     On February 9, 2016, Pelissier contacted the MTA, representing that the owner of

TransCare wished to transfer the MTA Contract to a different entity: “I am working with the

ownership representative of TransCare.”


6
  This proof of claim also states that Ark II received $800,000.00 in connection with the
Trustee’s sale of assets. The Trustee paid out $800,000.01 to PPAS – not Ark II – pursuant to a
court order dated March 25, 2016 [Dkt. No. 52]. PPAS failed to disclose to the Court or the
Trustee that these funds would be forwarded to Ark II. In fact, PPAS represented that it held
“first-priority security interests” in the property to be sold and was entitled to “gift” part of its
proceeds for the benefit of an employee wage claim fund on account of its lien position [Dkt. No.
49 at ¶¶ 9, 19]. Additionally, the March 25, 2016 stipulation agreed to by PPAS and the Trustee
– and so-ordered by the Court – disclosed the existence of the intercreditor agreement between
PPAS and Wells Fargo, while failing to disclose the intercreditor agreement between PPAS and
Ark II or the existence of liens in Ark II’s favor separate from those of PPAS [Dkt. No. 52-1 at
Recitals, ¶ 4].

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transactions. To effectuate this plan, Tilton held meetings at Patriarch’s offices with TransCare’s

executives to model out which TransCare business units would be transferred to Transcendence

and how, and the amount of revenue they could be expected to bring in for the new company.

None of these actions were consistent with Tilton’s duty of loyalty to TransCare. Tilton and

Patriarch caused TransCare’s employees to work on projects on Patriarch’s behalf in support of

the Transcendence plan rather than for TransCare’s business operations.

       85.     Patriarch endeavored to keep this plan secret even while it directed TransCare’s

remaining executives to prepare the transition, including talking points to sell the union and the

MTA on the Transcendence plan. “Obviously, we cannot breath a word until we have the overall

deal finalized. Until then it must be business as usual[,]” Randy Jones of Patriarch wrote on

February 11, 2016 to TransCare’s Vice President of Transit Services Thomas Fuchs and Chief

Operating Officer Peter Wolf.

       86.     On February 14, 2016, Pelissier, from a non-Patriarch email address, submitted a

detailed plan to TransCare’s executives to prepare to transfer TransCare’s lucrative MTA

paratransit business, as well as several other lucrative ambulance divisions.

       87.     On February 18, 2016, TransCare signed an engagement agreement with Curtis

Mallet to file a Chapter 7 bankruptcy case for all the TransCare entities. Stephen continued to

serve as the main point of contact for Curtis Mallet in planning TransCare’s bankruptcy, even as

he was handling Patriarch’s “foreclosure” of TransCare’s assets.

       88.     At the same time as Patriarch sought to obtain its assets, it declined to pay the

payroll taxes for those employees. By February 24, 2016, TransCare owed approximately

$1.148 million in payroll taxes for 2016, plus at least $172,000 in penalties and interest. Tilton

allowed TransCare to operate without paying payroll taxes or reserving for them. For example,



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on February 19, 2016, when Carl Marks advised Tilton that TransCare lacked the funds

necessary to pay payroll, 401(k) obligations, and outstanding payroll taxes from earlier pay

dates, as well as other critical expenses, Tilton chastised Carl Marks for seeking her direction

and instead told Carl Marks to “make decisions on what needs to be paid.”

       89.     On February 24, 2016, Tilton directed TransCare to file for Chapter 7 bankruptcy

protection.

       90.     PPAS and Transcendence Transit, Inc. have represented in filings with the

Bankruptcy Court for the Southern District of New York that PPAS effectuated an Article 9

“strict foreclosure” of certain of TransCare’s assets, including its paratransit division. 7 Despite

numerous requests, Patriarch has been unable to produce a copy of any of the documents

constituting or underlying this “foreclosure.”

       91.     The Trustee obtained a copy of a three-paragraph “Notice of Acceptance of

Subject Collateral in Partial Satisfaction of Obligation” dated February 24, 2016 from a third

party. 8 This document was signed by Tilton for PPAS, Ark Investment GP II, L.P., Patriarch

Partners VII, LLC, Patriarch Partners XIV, LLC, and Patriarch Partners XV, LLC.                The


7
  Tilton and various of her Patriarch entities (including Patriarch Partners, LLC, PPAS, Patriarch
Partners III, LLC, Ark II, and Ark Investment Partners II, L.P.) have similarly represented in
filings with the District Court for the Eastern District of New York that “TransCare’s term loan
lenders” foreclosed on the MTA Contract. National Labor Relations Board v. Transcendence
Transit II, Inc. et al., Case No. 1:17-mc-00913-SJ (E.D.N.Y.).
8
  This document was obtained from a third party as Patriarch was unable to produce it despite
repeated requests from the Trustee. Likewise, Patriarch still has not provided a copy of the
February 24, 2016 Notice of Default, even though PPAS represented to the Court that the two
documents exist [Dkt. No. 49 at ¶¶ 10, 11; see also Dkt. Nos. 521 at ¶ 8, 522 at ¶ 11]. Further,
Transcendence Transit, Inc. represented to the Court and Stephen submitted a supporting
affidavit affirming that February 24, 2016 Bill of Sale, Agreement to Pay and Transfer Statement
documents between PPAS and Transcendence Transit, Inc. existed with respect to the
Transcendence transaction [Dkt. Nos. 521 at ¶ 9, 522 at ¶ 12], but Patriarch has similarly failed
to produce these documents.


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document states that PPAS was accepting certain collateral – including the MTA Contract, but

not the stock of the performing party thereunder, TransCare New York, Inc. – pursuant to

Section 9-620 of the Uniform Commercial Code in satisfaction of $10,000,000 of the amounts

owing under the Credit Agreement. However, the document does not specify what default(s) had

occurred, provide notice to any of the other creditors secured by the collateral (namely, Wells

Fargo Bank, N.A.), or explain the basis for the $10,000,000 valuation of the collateral (which

Patriarch had internally stated related to                                   revenues). Further,

Tilton controlled TransCare by serving as its sole director (including at the time of the “strict

foreclosure”), and the signatory for TransCare on this document (Peter Wolf) testified at

TransCare’s 341 Meeting of Creditors that he was asked by Patriarch and/ or Tilton to sign

backdated documents.

       92.     Also on February 24, 2016, Tilton issued a number of board resolutions as the

sole member of Transcendence’s board of directors purporting to (i) exercise control over

TransCare’s assets, including borrowing an additional $10 million from Patriarch and granting

Patriarch security interests in Transcendence’s assets, and (ii) authorize Transcendence to enter

into transactions transferring and assigning leases and contracts from TransCare to

Transcendence.

       93.     For example, on February 24, 2016, Tilton signed a written consent of the sole

director of Transcendence Transit II, Inc. authorizing Transcendent Transit II to enter into an

Assignment Agreement with TransCare New York, Inc., whereby TransCare New York, Inc.

would assign its Access-A-Ride Transportation Service Agreement with the MTA to

Transcendence Transit II. Tilton’s written consent stated that “TransCare desires to transfer and

assign the [MTA] Agreement.” This statement is inconsistent with Patriarch’s filings with the



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Bankruptcy Court claiming that PPAS foreclosed on TransCare’s MTA contract and took it from

TransCare. The written consent also stated that “the MTA [defined as the New York City

Transit Authority] has heretofore provided TransCare with its consent to the Assignment.” This

statement is inconsistent with the affidavit, made under penalty of perjury by Brian Stephen,

stating that the MTA never approved the assignment: “Transcendence II could not operate

without being assigned the Access-A-Ride contract, and NYC Transit never approved its

transfer.” 9

        94.    According to Patriarch “insurmountable logistical issues” prevented it from

continuing TransCare’s paratransit and other business operations under the Transcendence label

and that such issues “outmatched” Patriarch’s “desire and commitment to continue without those

business lines.”

        95.    Late at night on February 25, Patriarch, and in particular Stephen (purportedly the

lawyer for TransCare’s board of directors), realized that the Transcendence plan would not

succeed. At 10:53 p.m., despite the existence of the Bankruptcy Court’s automatic stay, Brian

Stephen emailed TransCare executives and directed them to steal assets from TransCare. “As a

result, we need to try and secure as many assets (ambulances, equipment, etc.) as possible as

quickly as we can. … I am not entirely sure where the most valuable assets are, but it makes

sense to target those first – if those assets can be moved.”



9
  As noted above, Tilton has failed to produce the “folder” containing TransCare’s board
resolutions. Nevertheless, the Trustee has discovered at least one TransCare board resolution
corresponding to the Transcendence board resolutions: one authorizing TransCare to transfer
and assign a medical equipment lease to Transcendence (again stating that “the Corporation
desires to transfer and assign the Agreement.”).




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        96.     Later that evening, Pelissier followed up on Stephen’s directive, instructing the

TransCare executives to transfer TransCare’s account receivable server out of the debtor’s

warehouse. Uncomfortable with this activity, TransCare’s vice president refused and rejected

Patriarch’s offer to join Transcendence, instead properly alerting the Trustee to the ongoing

unlawful activity.

                                 FIRST CLAIM FOR RELIEF

                     Breach of the Fiduciary Duty of Loyalty and Good Faith

                                     (Against Lynn Tilton)

        97.     The Trustee realleges and incorporates the allegations of the preceding paragraphs

as if fully set forth herein.

        98.     While she served as the sole board member of the Debtors, Tilton owed an

undivided duty of loyalty and good faith to the Debtors.

        99.     Tilton lacked independence because she also was the principal of TransCare’s

lenders PPAS and Ark II and the collateral managers (Patriarch Partners VIII, LLC, Patriarch

Partners XIV, LLC and Patriarch Partners XV, LLC) for other lenders to TransCare.

        100.    Tilton breached her duty of loyalty by actively impeding TransCare’s attempts to

monetize its assets and by instead working to strip TransCare of the same assets. Tilton made

decisions for the benefit of herself, Patriarch and her other companies, as opposed to the benefit

of TransCare.

        101.    Tilton knew or should have known of the requirements of the Worker Adjustment

and Retraining Notification Act (the “WARN Act”), 29 U.S.C. § 2101 et seq. and the New York

Worker Adjustment and Retraining Notification Act (the “NY WARN Act”), N.Y. Labor Law §

860 et seq. Further, Tilton knew or should have known that her actions and/ or inaction would

create potential liability under the WARN Act and the NY WARN Act.

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        102.    As a direct and proximate cause of Tilton’s breaches of the duty of loyalty and

good faith, TransCare’s estates have suffered unpaid asserted claims (including employee claims,

WARN Act claims, NY WARN Act claims, payroll taxes, and tax penalties and interest), the

loss of proceeds from the potential sale offers, the employee wages for work performed for

Patriarch and/ or Tilton (along with the associated payroll taxes), and the loss of ability to

continue TransCare’s business as a going concern, all in amount to be proven at trial, but

believed to be more than $10 million, plus punitive damages.

                                SECOND CLAIM FOR RELIEF

                  Aiding and Abetting Breach of the Fiduciary Duty of Loyalty

  (Against Patriarch (Patriarch Partners Agency Services, LLC, Patriarch Partners, LLC,

      Patriarch Partners Management Group, LLC, Ark II CLO 2001-1, Limited, Ark

 Investment Partners II, L.P., LD Investments, LLC, Patriarch Partners II, LLC, Patriarch

Partners III, LLC, Patriarch Partners VIII, LLC, Patriarch Partners XIV, LLC, Patriarch

   Partners XV, LLC, Transcendence Transit, Inc., and Transcendence Transit II, Inc.))

        103.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

as if fully set forth herein.

        104.    Patriarch knowingly and in bad faith assisted Tilton’s breaches of fiduciary duties

of loyalty and good faith in connection with her acts to impede TransCare’s attempts to monetize

its assets, to strip TransCare of those same assets, and to make decisions for the benefit of

herself, Patriarch and her other companies. Patriarch sought to benefit itself – and did in fact

benefit – from Tilton’s breaches of her fiduciary duties. Without such aid from Patriarch,

Tilton’s fiduciary breaches would not have occurred.

        105.    As a direct and proximate cause of Patriarch’s aiding and abetting of Tilton’s

breach of the duty of loyalty and good faith, TransCare’s estates have suffered unpaid asserted

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claims (including employee claims, WARN Act claims, and NY WARN Act claims, payroll

taxes, and tax penalties and interest), the loss of proceeds from the potential sale offers, the

employee wages for work performed for Patriarch and/ or Tilton (along with the associated

payroll taxes), and the loss of ability to continue TransCare’s business as a going concern, all in

amount to be proven at trial, but believed to be more than $10 million, plus punitive damages.

                                 THIRD CLAIM FOR RELIEF

                  Equitable Subordination of All Claims Asserted by Patriarch

(Against Patriarch Partners Agency Services, LLC, Ark II CLO 2001-1, Limited, Patriarch

               Partners Management Group, LLC, and Patriarch Partners, LLC)

        106.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

as if fully set forth herein.

        107.    The Trustee seeks to equitably subordinate all claims asserted by Patriarch against

TransCare and its estates pursuant to Bankruptcy Code Sections 105(a) and 510(c) because

Patriarch engaged in inequitable conduct, causing injury to the creditors of TransCare and

conferring an unfair advantage on Patriarch. Claims have been filed against TransCare and its

estates by insiders PPAS, Ark II, Patriarch Partners Management Group, LLC, and Patriarch

Partners, LLC, all of whom participated in and benefitted from the inequitable conduct.

Equitable subordination here is consistent with the Bankruptcy Code.

        108.    Patriarch and Tilton utilized Tilton’s role as the Debtors’ sole board member to

direct the Debtors’ conduct to the detriment of and in breach of Tilton’s fiduciary obligations to

TransCare and their estates.

        109.    Patriarch’s conduct injured TransCare’s estates by, among other things, (i)

preventing the Debtors from selling their assets, (ii) causing the Debtors to pay millions of

dollars to PPAS while TransCare was insolvent, and (iii) attempting to strip TransCare of its

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profitable assets – with the directed assistance of TransCare’s employees – on the eve of its

bankruptcy filings and even afterwards in violation of the automatic stay.

        110.    In these circumstances, subordinating Patriarch’s claims is consistent with the

provisions of the Bankruptcy Code.

        111.    Therefore, the Trustee requests that the claims asserted by Patriarch be

subordinated below general unsecured claims and that the liens associated with such claims be

transferred to TransCare’s estates pursuant to Bankruptcy Code Section 510(c)(2).

                                FOURTH CLAIM FOR RELIEF

                     Recharacterization of All Claims Asserted by Patriarch

   (Against Patriarch Partners Agency Services, LLC and Ark II CLO 2001-1, Limited)

        112.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

as if fully set forth herein.

        113.    In the alternative to equitably subordinating Patriarch’s claims, the Trustee seeks

to recharacterize as equity all claims asserted against TransCare and its estates by PPAS and Ark

II for funds purportedly loaned pursuant to Bankruptcy Code Sections 105(a) and 502(a).

        114.    The purported funds advanced by PPAS and Ark II, purportedly as loans under

the Credit Agreement or the Ark Credit Agreement, respectively, were – in fact and should be

deemed to have been – capital contributions by PPAS and Ark II, and not debt.

        115.    The circumstances of the purported funds advanced by PPAS and Ark II indicate

that the parties did not intend to create an unconditional obligation for TransCare to repay such

funds. Among the indicia evidencing that such funds were capital/ equity investments – and not

loans – are, without limitations, the following: (i) the TransCare was severely undercapitalized at

all relevant times; (ii) PPAS and Ark II were insiders of TransCare when such funds were

advanced; (iii) the repayment of the funds was dependent on the prospective financial success of
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TransCare’s business; (iv) Patriarch’s equity and purported debt investments in TransCare were

roughly proportional; (v) there was never any sinking fund established (or other accumulated

funds set aside to repay the purported debts) established when such funds were advanced; (vi)

TransCare’s assets were wholly encumbered when such advances were made; (vii) the advances

were subordinated to the claims of lender Wells Fargo Bank, N.A. with respect to TransCare’s

valuable contract rights and certain other intangible property; and (viii) Patriarch rejected

consideration of offers for all or part of TransCare’s assets in an attempt to arrogate the value of

those assets for itself.

        116.     Therefore, the Trustee requests that the claims asserted by PPAS and Ark II be

deemed to be capital contributions rather than loans and disallowed as claims pursuant to

Bankruptcy Code Section 502(b). The Trustee further requests that the liens associated with

such claims be transferred to TransCare’s estates and/ or voided pursuant to Bankruptcy Code

Sections 506(d) and 105(a).

                                    FIFTH CLAIM FOR RELIEF

                           Objection to Claims, Liens and Security Interests

   (Against PPAS, Ark II CLO 2001-1, Limited, Patriarch Partners Management Group,

                                 LLC, and Patriarch Partners, LLC)

        117.     The Trustee realleges and incorporates the allegations of the preceding paragraphs

as if fully set forth.

        118.     The Trustee objects to any claims and liens asserted by Patriarch pursuant to

Bankruptcy Code Section 502(d) and because they are subject to setoff. Claims have been filed

against TransCare and its estates by PPAS, Ark II, Patriarch Partners Management Group, LLC,

and Patriarch Partners, LLC.



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        119.    The Trustee objects to the claims and liens asserted by PPAS and Ark II in so far

as the agreements incurring those claims and liens were only executed by PPAS or Ark II and

not by TransCare.

        120.    Further, the Trustee objects to the claims and liens asserted by PPAS and Ark II

on the grounds of insufficient documentary evidence as Patriarch has been unable to produce

proof of the amount, ownership and funding for the underlying loans.

        121.    Additionally, to the extent the claims and liens held by PPAS and Ark II are

invalidated and/ or determined to be subject to setoff and/ or avoidance, the Trustee seeks (i)

disgorgement of any funds paid by the Trustee post-petition to PPAS (including those funds

forwarded by PPAS to Ark II pursuant to an arrangement not disclosed to the Trustee or the

Court), (ii) retention of any and all funds in TransCare’s estates that could be deemed subject to

the liens of PPAS or Ark II with such liens preserved for the benefit of the estates and (iii)

voiding of the liens of PPAS and Ark II and/ or transfer of such liens to TransCare’s estates

pursuant to Bankruptcy Code Sections 506(d), 105(a), 544(b), 550(a), and/ or 551.

                                 SIXTH CLAIM FOR RELIEF

 Lender Liability, Common Law Breach of Fiduciary Duty, and Common Law Assumption

                                            of Control

  (Against Patriarch (Patriarch Partners Agency Services, LLC, Patriarch Partners, LLC,

      Patriarch Partners Management Group, LLC, Ark II CLO 2001-1, Limited, Ark

 Investment Partners II, L.P., LD Investments, LLC, Patriarch Partners II, LLC, Patriarch

Partners III, LLC, Patriarch Partners VIII, LLC, Patriarch Partners XIV, LLC, Patriarch

   Partners XV, LLC, Transcendence Transit, Inc., and Transcendence Transit II, Inc.))

        122.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

as if fully set forth herein.
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         123.   Patriarch was in complete domination of the finances, policy, and business

practices of TransCare. Tilton’s role as the sole board member placed Patriarch in a position of

trust and unusual advantage vis-à-vis TransCare.

         124.   The domination of Patriarch over TransCare resulted in TransCare having no

separate or independent mind, will or existence of its own.

         125.   This control was used by Patriarch to cause TransCare to make transfers and

decisions that rendered TransCare unable to pay employees and critical vendors (including

vendors necessary for the maintenance of the TransCare’s ambulance fleet), to engage in the

failed Transcendence scheme, and to deny TransCare the ability to explore refinancing or asset

sales.

         126.   As a direct and proximate cause of Patriarch’s wrongful acts, TransCare’s estates

have suffered unpaid claims (including employee claims, WARN Act claims, and NY WARN

Act claims, payroll taxes, and tax penalties and interest), the loss of proceeds from the potential

sale offers, the employee wages for work performed for Patriarch and/ or Tilton (along with the

associated payroll taxes)), and the loss of ability to continue TransCare’s business as a going

concern, all in amount to be proven at trial, but believed to be more than $10 million, plus

punitive damages.

                                SEVENTH CLAIM FOR RELIEF

         Actual Fraudulent Transfer Under the Bankruptcy Code and New York Law

                                    (Against All Defendants)

         127.   The Trustee realleges and incorporates the allegations of the preceding paragraphs

as if fully set forth herein.

         128.   On February 24, 2016, Patriarch and Tilton – via PPAS – purported to conduct a

“strict foreclosure” of certain valuable assets of TransCare for their own benefit. This “strict
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foreclosure” was ineffective and commercially unreasonable, constituted an attempt to defraud

TransCare and its creditors, and did in fact defraud TransCare and its creditors.

        129.     To the extent the “strict foreclosure” was effective in transferring property from

TransCare, Patriarch and Tilton caused the transfers to be made while Patriarch was insolvent

and unable to pay millions owing to other vendors, including vendors critical to the maintenance

of the TransCare’s ambulance fleet.

        130.     These transfers further caused TransCare not to be able to operate as a going

concern, to the detriment of TransCare’s estates.

        131.     Therefore, to the extent Patriarch and Tilton’s scheme was successful, the Trustee

seeks to avoid these transfers of TransCare’s property to the Defendants as actual fraudulent

transfers pursuant to Bankruptcy Code Sections 548(a)(1)(A) and 544(b) and N.Y. Debtor &

Creditor Law Section 276.

                                 EIGHTH CLAIM FOR RELIEF

                                  Recovery of Avoided Transfers

                                      (Against All Defendants)

        132.     The Trustee realleges and incorporates the allegations of the preceding paragraphs

as if fully set forth.

        133.     The Trustee is entitled to avoid any actual fraudulent transfers and/ or post-

petition transfers pursuant to Sections 544, 548 and 549 of the Bankruptcy Code and/ or N.Y.

Debtor & Creditor Law Section 276 (collectively, the “Avoided Transfers”).

        134.     All of the Defendants were the initial transferees of the Avoided Transfers, the

immediate or mediate transferees of such initial transferees, or the entities for whose benefit the

Avoided Transfers were made.



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        135.     Pursuant to Section 550(a) of the Bankruptcy Code, Plaintiffs are entitled to

recover the Avoided Transfers for the benefit of the estates from all of the Defendants, plus

interest thereon to the date of payment and the costs of this action.

                                  NINTH CLAIM FOR RELIEF

                                    Violation of Automatic Stay

                                     (Against All Defendants)

        136.     The Trustee realleges and incorporates the allegations of the preceding paragraphs

as if fully set forth.

        137.     The conduct of the Defendants in their attempts to obtain the property of

TransCare post-petition, including – without limitation – the negotiations to obtain the MTA

contract, any efforts to consummate the “strict foreclosure,” and any efforts to obtain property of

TransCare’s estates, constituted violations of the automatic stay provided for in Section 362(a) of

the Bankruptcy Code.

        138.     Therefore, any successful transfers of TransCare’s property post-petition should

be avoided, and all of the Defendants are guilty of civil contempt.




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       WHEREFORE, the Trustee respectfully requests that this Court enter judgment in the

Trustee’s favor against the Defendants to each claim for relief, in the amount requested by each

claim for relief, plus attorneys’ fees and costs, punitive damages, pre-judgment interest, where

applicable, together such other and further relief as this Court deems just and proper.

Dated: New York, New York
       February 21, 2017
                                              Respectfully submitted,


                                              /s/ Steven Storch
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                                              Special Counsel to Chapter 7 Trustee Salvatore
                                              LaMonica




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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

     In re:                                             Chapter 7

     TRANSCARE CORPORATION, et al.,                     Case No. 16-10407-smb

                            Debtors. 1                  (Jointly Administered)
     SALVATORE LAMONICA, as Chapter 7
     Trustee for the Estates of TransCare               Adv. Pro. No. 18-1021-smb
     Corporation, et al.,
                            Plaintiff,                  AMENDED COMPLAINT

               - against -

     LYNN TILTON, PATRIARCH PARTNERS
     AGENCY SERVICES, LLC, PATRIARCH
     PARTNERS, LLC, PATRIARCH
     PARTNERS MANAGEMENT GROUP,
     LLC, ARK II CLO 2001-1 LIMITED,
     TRANSCENDENCE TRANSIT, INC., and
     TRANSCENDENCE TRANSIT II, INC.,
                       Defendants.

              Salvatore LaMonica, as Chapter 7 Trustee (the “Trustee”) of the jointly-administered

 estates of the above-named Debtors (together, “TransCare”), hereby alleges:

                                             INTRODUCTION

              1.      Prior to its February 2016 bankruptcy filing, TransCare provided vital emergency

 medical transportation services to hospitals and communities throughout the Northeast. TransCare

 also operated disability transportation services for municipal authorities, such as the New York

 City Transit Authority (the “MTA”).




 1
  The Debtors are: TransCare Corporation, TransCare New York, Inc., TransCare ML, Inc., TC
 Ambulance Group, Inc., TransCare Management Services, Inc., TCBA Ambulance, Inc., TC
 Billing and Services Corporation, TransCare Westchester, Inc., TransCare Maryland, Inc., TC
 Ambulance North, Inc., TransCare Harford County, Inc., TransCare Pennsylvania, Inc., TC
 Ambulance Corporation, and TC Hudson Valley Ambulance Corp.




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        2.      As the sole member of TransCare’s board of directors, Lynn Tilton owed TransCare

 her undivided and unselfish loyalty.

        3.      By 2015, after years of under-investment, TransCare lacked the financial ability to

 fund payroll, pay vendors, or obtain insurance on its own. To safely transport patients to hospitals,

 TransCare’s employees were forced to pay fuel and tolls out of their own pocket. Faced with this

 financial crisis and budding public health emergency, TransCare’s executives pleaded with Tilton

 to allow them to recapitalize the company. They brought her potential purchasers who were ready,

 willing, and able to pay TransCare millions of dollars, which was more than enough to fund

 TransCare’s growth and stabilization plans.

        4.      Tilton, ignoring her fiduciary duties, rejected these offers and instead sought to strip

 TransCare of its most profitable business units for the benefit of herself and companies owned by

 her, including Patriarch Partners Agency Services, LLC (“PPAS”), the administrative agent on a

 TransCare term loan owed primarily to other Tilton-owned and Tilton-controlled entities. While

 TransCare’s executives were pleading for funds to make payroll, Patriarch executives under her

 direction were advising her on plans to seize the same TransCare assets that Tilton would not let

 TransCare sell.

        5.      On the initial petition date of February 24, 2016, Tilton – working both sides of the

 transaction and against TransCare’s interests – purported to have companies owned and controlled

 by her “foreclose” on TransCare’s most profitable units and transfer them to new companies

 owned and controlled by her and which as a group were called Transcendence. Tilton’s ill-

 conceived “foreclosure” plan revealed Tilton’s motivation for her otherwise inexplicable

 directives forbidding TransCare to recognize value from its assets. It was so outrageous that it

 collapsed of its own accord within hours of going live. Even so, Patriarch employees under

 Tilton’s command continued to plot to steal TransCare’s assets under cover of night.
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        6.      As a result of this egregious conduct, TransCare suddenly collapsed, jeopardizing

 public safety and leaving it without any operating business units to sell for the benefit of its

 creditors. TransCare’s employees, who worked for weeks without pay while Tilton tried to steal

 the company’s assets, were left with large unpaid wage claims. This ruinous scenario was exactly

 what TransCare’s executives had warned Tilton would come to pass, but which Tilton ignored due

 to her own conflicts of interest.

        7.      By this action, the Trustee seeks damages resulting from Tilton’s breach of the duty

 of loyalty. The Trustee also objects to claims and liens asserted by the companies controlled by

 Tilton, and seeks damages against certain of those entities for abusing their positions as lenders.

                                           THE PARTIES

        8.      Plaintiff is the Trustee of the above-named Debtors, all Delaware corporations. The

 parent entity, TransCare Corporation, was headquartered in Brooklyn, New York. TransCare

 provided essential public safety services, including 911 ambulance services, in New York,

 Pennsylvania and Maryland. TransCare employed over 1,800 employees, including emergency

 medical technicians, drivers, and mechanics.

        9.      Lynn Tilton was the sole director of TransCare and in fact was referred to as

 the “Board.” She is also the principal, manager, and direct or indirect owner of the remaining

 Defendants, each of which are headquartered at the same office in New York City at 1 Liberty

 Street, 35th Floor. Tilton claims to be a resident of Florida.

        10.     Patriarch Partners Agency Services, LLC (referred to herein as PPAS) is a

 Delaware limited liability corporation headquartered in New York City, at 1 Liberty Street, 35th

 Floor. PPAS served as the administrative agent under a Credit Agreement, dated as of August 4,

 2003 (discussed in further detail below). Tilton is the sole manager and owner of PPAS.



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        11.     Patriarch Partners, LLC (“Patriarch Partners”) is a Delaware limited liability

 corporation headquartered in New York City, at 1 Liberty Street, 35th Floor. Tilton is the sole

 manager of Patriarch Partners. Tilton owns 100% of Patriarch Partners through her ownership of

 Patriarch Partners’ sole member. According to its website, Patriarch Partners describes itself as

 an “investment firm.”

        12.     Patriarch Partners Management Group, LLC (“PPMG”) is a Delaware limited

 liability corporation headquartered in New York City, at 1 Liberty Street, 35th Floor. Tilton is the

 sole manager and owner of PPMG.

        13.     Ark II CLO 2001-1, Limited (“Ark II”) is a Delaware limited liability corporation

 headquartered in New York City, at 1 Liberty Street, 35th Floor. Ark II holds about a 55.7% stock

 interest in TransCare Corporation. In February 2016, Ark II entered into the Ark II Credit

 Agreement with TransCare, dated as of January 15, 2016 (as discussed below). Tilton owns 99%

 of Ark II, and the remaining 1% of Ark II is held in a trust for Tilton’s daughter.

        14.     Transcendence Transit, Inc. and Transcendence Transit II, Inc. are both Delaware

 corporations headquartered in New York City, at 1 Liberty Street, 35th Floor. Tilton is the sole

 director of both entities, and Transcendence Transit, Inc. is the parent of Transcendence Transit II,

 Inc.

                                  JURISDICTION AND VENUE

        15.     This Court has jurisdiction over this proceeding pursuant to 28 U.S.C § 1334

 because this action arises in or relates to a case under title 11 of the United States Code (the

 “Bankruptcy Code”). The Court also has jurisdiction over this matter pursuant to 28 U.S.C. § 1331

 as this action arises, in part, under the laws of the United States.

        16.     This is a core proceeding as defined in 28 U.S.C. § 157(b)(2).



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            17.   To the extent any portions of this complaint are non-core, the Bankruptcy Court

 may hear the claims and issue findings of fact and conclusions of law and the Trustee consents to

 the Bankruptcy Court issuing a final order on the claims asserted herein.

            18.   Venue in this district is proper pursuant to 28 U.S.C. § 1409 because this action

 arises in or relates to cases under the Bankruptcy Code that is pending before this Court.

                                          BACKGROUND

 TransCare’s Capital Structure

            19.   TransCare was incorporated in 1993.

            20.   TransCare filed prenegotiated chapter 11 bankruptcy cases in September 2002.

            21.   Prior to the commencement of those cases, Ark II purchased approximately 51% of

 TransCare’s outstanding senior secured debt.

            22.   The chapter 11 plan ultimately confirmed in July 2003 provided for the issuance of

 approximately 51% of the shares in reorganized TransCare to Tilton-owned entities. At all

 relevant times, Tilton exercised control over TransCare via her indirect ownership of said shares

 and later by serving as TransCare’s sole director. 2

            23.   The chapter 11 plan also provided for $33.5 million in loans under a Credit

 Agreement, dated as of August 4, 2003, among TransCare Corporation, as borrower, PPAS, as

 administrative agent, and the lenders party thereto (as amended, the “PPAS Credit Agreement”),

 with 51% of the loans issued to two Tilton-controlled entities, Ark II and Ark Investment Partners

 II, L.P.



 2
   Despite repeated requests from the Trustee, Defendants have not produced copies of all of the
 TransCare board resolutions, including the board resolution(s) providing for Tilton to become
 TransCare’s sole director, and the Trustee cannot determine when exactly Tilton became the sole
 director.

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         24.    TransCare granted PPAS a senior secured lien on all of its assets by the Security

 Agreement executed by TransCare in favor of PPAS in connection with the PPAS Credit

 Agreement.

         25.    To fund the operations of the company, TransCare entered into a revolving credit

 facility with Wells Fargo, N.A., as successor-by-merger with Wachovia Bank, N.A. (“Wells

 Fargo”) dated October 13, 2006, pursuant to which TransCare granted Wells Fargo a blanket lien

 on substantially all of its assets. At all relevant times, Tilton controlled PPAS, and the “Required

 Lenders” under the PPAS Credit Agreement (at all relevant times, virtually all lenders were Tilton

 affiliates).

         26.    Pursuant to an Intercreditor Agreement, dated October 13, 2006, among Wells

 Fargo and PPAS, the parties agreed that Wells Fargo would have a first priority lien on all of

 TransCare’s assets and account receivables, including TransCare’s right to receive payments from

 the MTA pursuant to Contract No. 07H9751, as amended (the “MTA Contract”). The MTA

 Contract gave TransCare the right to provide paratransit services for MTA customers using

 vehicles leased from the MTA. It was one of TransCare’s most profitable business segments.

 Pursuant to the Intercreditor Agreement, PPAS retained a first priority lien only on TransCare’s

 vehicles, and miscellaneous physical assets (e.g., computers). PPAS also agreed not to take any

 action to foreclose or otherwise enforce any lien as to which it was junior to Wells Fargo.

         27.    At least as of 2014 and continuing through the Petition Date, the lenders under the

 PPAS Credit Agreement were: Zohar CDO 2003-1, Ltd. (“Zohar I”), Zohar II 2005-1, Ltd.

 (“Zohar II”), Zohar III, Ltd. (“Zohar III”), Ark Investment Partners II, L.P. (“Ark Investment”),




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 Credit Suisse Alternative Capital LLC (“Credit Suisse”), and First Dominion Funding I (“First

 Dominion”). 3

 Tilton’s Ownership and Control Over the Lenders and the Company

        28.      Tilton controlled both PPAS and TransCare at the time of the Credit Agreement

 and all amendments thereto, initially via her majority shareholder interest in TransCare and later

 pursuant to serving as the sole director. The contracts entered into between PPAS/ PPMG/ Ark II

 and TransCare were not arm’s-length transactions due to the control exercised by Tilton and

 Patriarch over TransCare, the lack of disinterested TransCare board directors, and the absence of

 counsel for TransCare separate from lawyers advising TransCare on Patriarch’s behalf.

 Transactions between TransCare and the Tilton-controlled entities were handled by lawyers

 employed at Patriarch Partners located at 1 Liberty Plaza.

        29.      PPAS, Patriarch Partners, PPMG, and Ark II operated wholly under Tilton’s control

 and pursuant to her directives. None of these entities had subsidiary officers or boards of directors

 and all executives reported directly to Tilton. Employees of each entity all worked together out of

 the same office for the common goal of furthering Tilton’s interests. They all shared the same

 email domain and held themselves out to the world as “Patriarch Partners”.             They shared

 documents and information between them, particularly concerning TransCare. At various points,

 depending on the need or Ms. Tilton’s directives, a multiplicity of employees at 1 Liberty Plaza

 worked on matters relating to TransCare without regard to which specific entity they were

 employed by. Tilton exploited her dual control over said Defendants and TransCare for her

 personal benefit.



 3
  In 2007, Zohar III took over Ark II’s loan and Ark II ceased being a lender under the PPAS Credit
 Agreement.

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        30.       Additionally, at all points relevant hereto, Tilton controlled Zohar I, Zohar II and

 Zohar III as collateral manager, and controlled Ark Investment as the 99% owner (with 1% held

 in trust for her daughter). Credit Suisse controlled its own loan and also served as the collateral

 manager for First Dominion.

        31.       Tilton prohibited TransCare from refinancing the PPAS debt. TransCare paid

 PPAS around $3-$4 million/ year in interest, which accrued under the PPAS Credit Agreement

 primarily at a rate of 12% per annum.

        32.       Tilton exercised discretion over TransCare’s payment of interest to PPAS in a

 number of different ways. First, the PPAS Credit Agreement permitted PPAS to waive Events of

 Default, including TransCare’s failure to pay interest (Section 12.1). Tilton exercised this right on

 multiple occasions in 2015 when TransCare did not pay interest or paid less interest than due.

 Second, in November 2015, Tilton waived interest payments owing to Zohar I, Zohar II, Zohar III,

 and AIP by transforming roughly $110,000 due as interest into a 0% loan. Third, in September

 2015, Tilton unilaterally reduced the amount of interest due on seven tranches owed to Zohar I,

 Zohar II, and Zohar III. Fourth, in December 2015 and January 2016, Tilton claims to have paid

 $200,000 to the lenders she controlled (Zohar and AIP) without paying the lenders controlled by

 Credit Suisse.

 Corporate Governance at TransCare

        33.       Tilton exercised an extraordinarily high level of control and domination over the

 operations of TransCare.

        34.       Pursuant to a July 2012 Written Consent of the Sole Director, Tilton issued an

 authority matrix prohibiting any TransCare officer from a wide range of activities, including,

 “disclos[ing] any financial or shareholder information of the Company or its subsidiaries to any

 third party[,]” entering into any contract not contemplated by the “Annual Plan,” engaging legal
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 counsel, and allowing only a “Designated Executive” to undertake certain limited functions.

 However, at least as of 2015, Tilton had not designated any Designated Executive and had not

 approved an Annual Plan. As a result, all such powers remained only in the Board and, as

 TransCare employees well knew, was synonymous with Tilton.

        35.     Brian Stephen, a lawyer employed by Patriarch Partners but claiming to represent

 TransCare’s Board, gave further gloss to these restrictions. For example, he explained to Glenn

 Leland, TransCare’s newly appointed Chief Executive Officer, that Leland was prohibited from

 taking even preliminary steps to actions requiring Board approval. Considering the breadth of

 those categories of actions, this instruction prohibited almost all independent action by

 TransCare’s executives.

        36.     Despite this level of control, Tilton regularly barred TransCare’s executives,

 including its Chief Executive Officer, from communicating directly with her. Instead, she required

 them to communicate through her Patriarch employees. At the same time, she empowered her

 Patriarch employees to give direction to TransCare’s executives. During the period preceding

 TransCare’s bankruptcy, those employees included Stephen, Jean-Luc Pelissier (Executive

 Managing Director at PPMG), Michael Greenberg (Analyst at Patriarch Partners), Randy Jones

 (Managing Director at Patriarch Partners) and Scott Whalen (Tilton’s son-in-law, Credit Analyst

 at Patriarch Partners until 2014/2015, and thereafter Director at PPMG). Stephen and Pelissier, in

 particular, enforced Tilton’s desire to limit communications from Leland. They told him that his

 reports were too negative and that negative comments could be discoverable in future litigation.

        37.     Through this arrangement, Patriarch executives hired and fired employees, directed

 the payment or non-payment of vendors and gave direct orders to TransCare employees. On

 multiple occasions, Greenberg executed amendments to the PPAS Credit Agreement on behalf of

 TransCare, causing TransCare to incur additional indebtedness and liens to PPAS. For all
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 transactions between Tilton’s companies (e.g., PPAS, Ark II) and TransCare, Tilton executed the

 documents on behalf of the former and ordered TransCare executives as well as her employees at

 Patriarch Partners to execute the documents on behalf of TransCare.              TransCare lacked

 independent counsel on any transaction with PPAS, PPMG, Patriarch Partners, or Ark II (or later

 the Transcendence entities). In short, Tilton and Patriarch exercised complete dominion and

 control over TransCare.

 Events Leading Up to 2015 Financial Crisis

        38.     In 2012, 2013, and 2014, TransCare had net revenues of approximately $130

 million and positive EBITDA. However, TransCare’s costs grew and it began losing lucrative

 clients because of its inability to invest in new vehicles. TransCare’s executives were advised that

 not paying bills on time and in full was the “Patriarch way.” As a result, its accounts payable grew

 and critical vendors went unpaid. During the same years, TransCare paid over $11 million to

 PPAS for the loans. In 2012, PPAS modified the Credit Agreement to provide TransCare with an

 additional $2 million.

        39.     TransCare’s most profitable business segment was the MTA Contract to provide

 paratransit services. This segment historically generated revenues of approximately $22 million

 and EBITDA of $3.7 million. However, by early 2015, the MTA indicated a reluctance to renew

 TransCare’s contract – scheduled to expire in summer 2015 – due to TransCare’s deteriorating

 financial condition. Among other things, TransCare was having problems obtaining replacement

 parts for MTA vehicles; even though the MTA paid TransCare for such parts, TransCare had such

 poor credit that parts suppliers would not do business with it.




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 In Early 2015, Tilton Refuses to Allow TransCare to Sell Assets Even as It Lacked Cash to Fund
 Payroll and Operations

        40.     By February 4, 2015, TransCare’s financial situation had become so dire that its

 executives warned Tilton that the company lacked the cash to make payroll the following day.

 They further advised that the company faced a projected $6.7 million shortfall between February

 4 and the end of March 2015. Moreover, TransCare’s essential vendors, such as EZ-Pass,

 suspended service due to chronic non-payment. Without the ability to pay for tolls using EZ-Pass,

 TransCare’s emergency ambulances could not reach hospitals without the EMTs paying the tolls

 from their own funds after waiting in the slower cash lanes. TransCare executives recommended

 either further investment in TransCare or an immediate and harsh reduction in headcount.

        41.     On February 5, 2015, Leland advised Pelissier and Brad Schneider (Analyst at

 Patriarch Partners) of “a new alternative to the emergency cash request and accelerated recovery

 plans we put forward to you and the Board yesterday.” Leland explained that National Express,

 “an international transit services leader,” sought to purchase the MTA Contract with an offer

 estimated at $15 to $18 million.

        42.     Leland explained that National Express “[has] been researching our situation and

 believe[s] that the hold up on our contract renewal is our unstable financial condition. They further

 noted that if we do not renew the contract, the likely action of the MTA would be to distribute our

 business to other small vendors, which eliminates their opportunity.” Leland further explained

 National Express’ valuation process which, based upon TransCare’s paratransit financial metrics,

 would translate into a $17 to $18 million valuation for the paratransit business. Finally, Leland

 advised that National Express had offered an immediate payment of $1.7 million as a non-

 refundable deposit in an option to begin negotiations towards a final transaction.




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        43.     In response, Tilton spoke with Leland herself. This was the only time that she ever

 contacted her CEO directly. Tilton berated the CEO for daring to explore a sale option. Next,

 Stephen called the CEO to reiterate that the CEO had no authority to even discuss sale options of

 any assets with any company. Stephen also claimed that TransCare would not receive any of the

 potential sale proceeds because “Lynn has other debts.” Finally, Pelissier called the CEO as well

 to reiterate that under no circumstances could he attempt to raise funds by exploring potential sales.

        44.     Also in February 2015, RCA Ambulance Service also expressed interest in

 purchasing TransCare to Tilton and to TransCare. Tilton similarly refused to engage or to

 authorize TransCare’s executives to consider RCA’s offer.

        45.     On February 18, 2015, Leland prepared a draft Stabilization Plan for Tilton’s

 review and sent it to Pelissier, Greenberg, and Schneider. He noted that “TransCare is not a viable

 on-going concern without immediate investment and assertive course correction” (emphasis in

 original). Once again, he noted that TransCare required an immediate infusion of cash just to

 remain in business. Once again, he stated that there was alternative to total collapse; TransCare

 could sell the MTA business to obtain “$14 to $17M to use for immediate financing activities for

 remaining ambulance service business.”

        46.     Leland further explained that “[w]e are working this week with clarity that the

 payroll for this work cannot be funded from internal cash flows or credit vehicles. I continue the

 operations because I am certain the company recognizes its liability and therefore will pay

 employees. But there comes a point where that can no longer be a valid assumption.”

        47.     Tilton still refused TransCare permission to explore the sale of any assets.

 Nevertheless, she authorized additional funding to TransCare in order to make payroll.




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 In Summer 2015, Tilton Again Refuses to Sell Assets to Fund Payroll and Operations

        48.     In June 2015, TransCare’s executives once again warned Tilton that the company

 risked missing payroll and needed to either recapitalize or sell assets immediately:

                -   “TransCare continues to operate on a very thin line of cash and
                    is only paying bills essential to its immediate operation.”

                -   “We propose to accelerate the business plan into Phase 2 with
                    an immediate loan of $5M. If Patriarch Partners is unable or
                    unwilling to provide these funds, we request permission to seek
                    alternative sources of financing.”

                -   “Under normal circumstances a company like TransCare with
                    threats to on-going operations, would seek protection from
                    creditors thru bankruptcy. We are told that is not an option
                    within the Patriarch portfolio, which leaves a debt consolidation
                    loan to satisfy critical vendors, remain viable, refocus leadership
                    on improved positioning and resolve reputation deficits.”

                -   “If TransCare were to shut down suddenly because of loss of key
                    suppliers and facilities, it faces a liability of as much as $15.45M
                    in wages and benefits. About 70% of TransCare payroll is for
                    New York employees which have a 90-day WARN act liability
                    as compared to the 60-day standard in other markets.”

        49.     On June 5, 2015, TransCare’s executives warned that they lacked the necessary

 funds to pay PPAS and make payroll and fund necessary disbursements. In response, Greenberg

 told TransCare’s CFO that Tilton, as TransCare’s sole director, was specifically ordering the

 payment of interest to PPAS despite TransCare’s financial situation: “The Board directed that I

 advise you that interest must be paid today.”

        50.     After further pleading by TransCare’s executives, Pelissier informed TransCare

 that “we have re-approached the subject of interest payment today with the board. TransCare must

 pay interest today as PPMG is not the only lender.” 4



 4
  Patriarch executives did not typically differentiate between the various Patriarch entities when
 dealing with TransCare.

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         51.    Later that evening, Leland again advised Pelissier and Greenberg:

                we are highly skeptical that TransCare can sustain its critical supply
                chain and insurance if it makes the required interest payment and
                continues to postpone back payroll tax deposits. … [W]ant to be
                certain the Board is fully advised that this action could force either
                a substantial loan, as we have requested, or force cessation of
                operations.

         52.    On July 3, 2015, TransCare missed payroll after bouncing a check to pay for

 necessary insurance immediately following Wells Fargo’s decision to suspend TransCare’s credit

 line.   Wells Fargo had just discovered a $1.5 million discrepancy in TransCare’s reported

 receivables reports, and sought Lynn Tilton to assure them the matter would be addressed. Tilton’s

 employees were, however, unable to contact Tilton. Shortly thereafter, the New York Department

 of Health warned TransCare that failure to provide immediate assurances to fund payroll would

 cause the Department to issue a Public Safety Emergency alert and direct the regional emergency

 medical services to seek alternative means of ensuring emergency ambulance services, effectively

 shutting TransCare out of its New York medical operations.

         53.    On July 6 and 9, 2015, TransCare’s CEO again raised the National Express offer

 with Pelissier, Greenberg, Whalen, and Jones:

                TransCare is running out of fuel. Literally. All of our fuel accounts
                have been frozen, our EZ Pass toll is depleted and we do not have
                money to turn th[e] accounts back on. We consumed about $2k of
                employee personal funds and other cash on hand last night to sustain
                operations. We are literally hours away from wide spread gasoline
                and EZ Pass outage. … We have been re approached by National
                Express which is interested in acquiring the MTA contract, as I have
                reported in the past…. Am I authorized to accept the deposit and
                continue operations?

         54.    On July 10, 2015, Leland informed Pelissier and Greenberg that he had received

 offers to buy all or parts of TransCare from two separate national ambulance companies in addition

 to National Express.


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         55.     Also on July 10, 2015, National Express delivered a signed Letter of Intent to

 TransCare offering to buy TransCare’s MTA paratransit business for $6 to $7 million plus the

 assumption of $2 million in related liabilities. Leland forwarded the offer to Pelissier, Whalen,

 and Greenberg.

         56.     Minutes later, Tilton’s son-in-law, Scott Whalen, denied Leland permission: “LOI

 is way premature. We have yet to review the business strategy. … [T]his will have to be made

 clear to them that the business is not for sale at this time.”

         57.     On July 13, 2015, Whalen again wrote to Leland seeking to prevent any public

 acknowledgment that TransCare or portions of TransCare might be for sale: “I would hate to have

 the LOI hanging out there and for National Express to tell people they are ‘buying TransCare’ is

 the issue.”

         58.     Leland confirmed in writing: “to be clear … you want me to: … contact National

 Express and tell them ‘TCP is not for sale’ per Patriarch Partners.” Whalen confirmed, despite the

 dire straits that TransCare was in, that this was exactly what Patriarch Partners and his mother-in-

 law Tilton were ordering.

         59.     On July 8 and 16, 2015, after agreeing with Wells Fargo to extend $2.5 million in

 new capital to TransCare in return for restoration of the Company’s credit line, Tilton caused PPAS

 to lend over $1.3 million to TransCare to fund payroll, bounced checks, and immediate needs.

 TransCare’s Financial Condition Deteriorates

         60.     Tilton’s refusal to recapitalize the company jeopardized TransCare’s ability to

 perform its safety mission and eroded the operational capabilities which TransCare could have

 monetized in a sale to a third-party. All the while, Tilton insisted that TransCare make its monthly

 interest payments to PPAS.



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        61.     For example, on July 14, 2015, the head of TransCare’s paratransit division

 reported:

                We are in dire straits right now, as you are aware, with ordering
                parts, tires, doing employee finger printing, getting uniforms.
                [TransCare paratransit] shop has been cannibalizing parts from
                vehicles that are out waiting for engines to be shipped (we can’t
                place orders since we have been shut off by CADI [TransCare’s auto
                parts supplier])

        62.     When Leland explained to Patriarch that the ambulances needed to be replaced

 every few years in order to run safely and profitably, Pelissier responded that he owned a private

 airplane that was fifty years old, such that the vehicle’s age did not matter.

        63.     On August 10, 2015, Leland warned Pelissier, Greenberg, Stephen, Jones, and John

 Pothin (Managing Director at Patriarch Partners) that operating the company on fumes was causing

 a breakdown in employee morale:

                Massive amount of employees have either resigned or given notice.
                Project Mgr., OPS mgr, disp mgr, 2 disp sups, 6 dispatchers, 20
                drivers have resigned in last 10 days. Unsuccessful in recruiting due
                to our past delayed payroll problems (word is out on the street) —
                working on doing some in-house promotions on a trial basis just to
                fill open slots at lesser money.

        64.     On October 7, 2015, Leland again pleaded with Pelissier and Greenberg that

 TransCare could not afford to both continue operations and pay PPAS:

                I understand that the Board has directed TransCare to issue the
                interest payment to Patriarch today. This despite the fact that the
                company will not have adequate funds to make its payroll tomorrow.

        65.     Thereafter, Pelissier and Greenberg – acting as Tilton’s representatives – instructed

 Leland to make interest payments to PPAS, having previously instructing Leland to (a) have

 employees pay for fuel themselves and (b) cease paying employee payroll taxes to the Internal

 Revenue Service.



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            66.   On December 8, 2015, Leland advised Pelissier and Greenberg that the head of

 TransCare’s MTA paratransit division was resigning due to frustration with the lack of resources.

 Leland also advised that National Express had again contacted him “to see if there is any interest

 in selling.” Leland recommended immediate discussions with National Express and to use the

 proceeds from the sale (or solely the deposit) to fund a plan to save as much of the ambulance

 business as possible. At this point, Leland advised Pelissier and Greenberg that TransCare could

 receive $6 to $8 million dollars from the sale.

            67.   Stephen wrote back to Leland the next day, reminding him that he needed approval

 from the Board prior to entering into any discussions.

            68.   On December 16, 2015, Leland told Pelissier, Greenberg, and Stephen:

                  National Express Called a few times yesterday … They reiterate that
                  the letter they sent before, offering to buy the TC Paratransit
                  contract, is ‘still out there.’ I am awaiting direction. My
                  recommendation is to immediately respond and negotiate a sale of
                  the contract. … Waiting further does not seem to be in best interest
                  of company.

            69.   On December 17, 2015, Leland told Pelissier, Greenberg, and Stephen that “to

 avoid a shutdown we should reopen selling the MTA contract to National Express.” Greenberg

 and Stephen told Leland that they were working on a number of issues but would pass it on.

 Tilton’s Plan to Acquire TransCare’s Valuable Assets

            70.   While TransCare was pleading to monetize its valuable assets so as to fund payroll

 and life-saving operations, Tilton was working on a plan to acquire that same assets to benefit

 herself.

            71.   By December 16, 2015, Tilton had advised Wells Fargo that it had determined to

 sell TransCare. In further discussions with Wells Fargo, Tilton told them that she would present




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 an integrated plan pursuant to which the Company’s principal assets would be sold as a going

 concern.

        72.     On December 18, 2015, Greenberg emailed Tilton his research on recent

 comparable sales of ambulance companies and which investment firms could assist Patriarch in

 selling TransCare. Greenberg reported that similarly situated companies had sold for average

 multiple of 1.8 times revenue and 10.1 times EBITDA. At this point, TransCare’s MTA paratransit

 unit had revenues of more than $20 million and EBITDA of more than $2.2 million. Had Tilton

 allowed TransCare to sell the paratransit business, these numbers would imply a valuation of

 between $22 and $36 million, vastly more than the amount needed to pay employees and

 recapitalize TransCare. Greenberg also recounted how Leland had received numerous offers from

 industry players to sell all or part of TransCare.

        73.     In late December, Greenberg, with Tilton’s approval, submitted a proposal to Wells

 Fargo to sell TransCare’s assets by September 2016.

        74.     On January 9, 2016, Leland quit as CEO of TransCare.

        75.     On January 11, 2016, Tilton hired Carl Marks & Co., Inc. (“Carl Marks”) to serve

 as restructuring advisors for TransCare and report to Tilton. During this period, TransCare’s last

 remaining C-level officer—its Chief Operating Officer—lacked authority to make any business

 decisions without approval from Tilton or the Patriarch executives overseeing TransCare.

        76.     On or about January 15, 2016, Tilton agreed to pay certain of TransCare’s insurance

 creditors. Although the Defendants have been unable to produce records confirming all of these

 payments, e-mails produced by the Defendants suggest that PPAS paid approximately $.81 million

 on January 15, 2016 and the produced financial records show PPAS paid roughly $.69 million on

 January 29, 2016.



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        77.     Tilton subsequently papered these advances as a loan from Ark II in an attempt,

 among other things, to improve her position vis-à-vis TransCare’s other creditors, and to insulate

 this infusion from claims made by third parties, including some of the lenders under the PPAS

 Credit Agreement and to ensure that she would own the assets transferred to Transcendence Transit

 and Transcendence Transit II.

        78.     On January 29, 2016 Ark II filed a UCC Financing Statement with respect to

 TransCare with the Delaware Department of State.

        79.     On February 9, 2016, Pelissier contacted the MTA, representing that the owner of

 TransCare wished to transfer the MTA Contract to a different entity: “I am working with the

 ownership representative of TransCare.”

        80.     Also, on or about February 9, 2016, Tilton’s personal lawyers at Skadden, Arps,

 Slate, Meagher & Flom LLP contacted the law firm of Curtis Mallet-Prevost, Colt & Mosle LLP

 (“Curtis Mallet”) about the need to for an immediate chapter 11 bankruptcy filing for TransCare.

 Curtis Mallet submitted a draft engagement letter that day to advise on an out-of-court

 restructuring or chapter 11 filing, and TransCare executed it on February 10. Brian Stephen served

 as the principal contact for TransCare for Curtis Mallet, advising Curtis Mallet on TransCare’s

 assets/ liabilities and bankruptcy strategy.

        81.     On February 10, 2016, Tilton caused two new Delaware entities to be incorporated:

 Transcendence Transit, Inc., and a wholly-owned subsidiary thereof, Transcendence Transit II,

 Inc. Defendants cannot produce a stock register for Transcendence. Nevertheless, Tilton claims

 that Ark II owns approximately 55% of Transcendence and that Ark II has a senior claim to

 Transcendence’s assets (as discussed below, even ahead of PPAS).

        82.     The same day, Carl Marks, ostensibly engaged by TransCare at Tilton’s direction

 to analyze and evaluate TransCare’s finances, if not to aid in restructuring it, used TransCare’s
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 internal financial information to provide Greenberg with a P&L statement for the new entities

 based upon the projected assets of TransCare to be transferred. The P&Ls include projections of

 $22.7 million in revenue for TransCare’s MTA paratransit division and $1.5 million of EBITDA.

        83.     Also on February 10, 2016, Greenberg told TransCare’s Vice President, Glen

 Youngblood, that the Transcendence Transit II entity would be taking over TransCare’s MTA

 Contract with an estimated $25 million in revenue and its other paratransit operations with an

 estimated $31 million in revenue. Greenberg noted that the division operating under the MTA

 Contract currently ran 168 routes but previously ran as many as 228 routes.

        84.     Also on February 10, 2016, Michael Greenberg, at Tilton’s direction, provided

 TransCare with documents to sign related to a new credit facility with Ark II, all back-dated as of

 January 15, 2016:

        (1) a Credit Agreement, between Ark II, as lender, TransCare Corporation,
            as borrower, and additional TransCare entities, as guarantors (the “Ark
            II Credit Agreement”);

        (2) a Security Agreement granting Ark II a blanket lien on all of
            TransCare’s assets;

        (3) a Guaranty whereby the TransCare entities (other than TransCare
            Corporation, as borrower) entered into a separate Guaranty of
            obligations under the Ark II Credit Agreement; and

        (4) an Intercreditor Agreement between Ark II and PPAS (“2016
            Intercreditor Agreement”), providing for the subordination of PPAS’s
            lien and right to payment to Ark II’s lien and right to payment (Section
            2.2).

 The 2016 Intercreditor Agreement was signed by Tilton as Manager of both Ark II and PPAS.

 Each of the foregoing agreements are dated “as of January 15, 2016.”

        85.     The Ark II Credit Agreement that Tilton ordered TransCare enter into authorized

 Ark II to make term loans totaling up to $6.5 million to TransCare Corporation, for working capital


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 and general corporate purposes. From the start that “loan” violated TransCare’s and PPAS’s

 covenants to the other lenders and equity holders of TransCare, and was illusory as well by its

 assertion of a $6.5 million loan when in fact no such amount was ever actually made available to

 TransCare.

        86.     Sometime between February 10 and February 11, 2016, TransCare executed the

 Ark II Credit Agreement.

        87.     On February 12, 2016, TransCare – at Greenberg’s direction – executed direction

 letters back-dated to January 15 and January 29, 2016, retroactively directing Ark II to make the

 payments that PPAS had made on those dates.

        88.     Despite these preparations, Tilton was unable to simply “foreclose” on TransCare’s

 ongoing business operations as one might repossess a vehicle or a piece of real estate. Tilton

 needed to convince employees to switch employers, convince vendors and insurers to substitute

 Transcendence for TransCare, obtain governmental authority to provide critical safety services

 through a new corporation, and switch bank accounts, among numerous other complex

 transactions. To effectuate this plan, Tilton held meetings at Patriarch’s offices with TransCare’s

 executives to model out which TransCare business units would be transferred to Transcendence

 and how, and the amount of revenue they could be expected to bring in for the new company.

 None of these actions were consistent with Tilton’s duty of loyalty to TransCare. Tilton, with the

 assistance of her Patriarch executives, caused TransCare’s employees to work on projects in

 support of the Transcendence plan rather than for TransCare’s business operations.

        89.     Patriarch executives endeavored to keep this plan secret even while it directed

 TransCare’s remaining executives to prepare the transition, including talking points to sell the

 union and the MTA on the Transcendence plan. “Obviously, we cannot breath a word until we

 have the overall deal finalized. Until then it must be business as usual[,]” Randy Jones of Patriarch
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 Partners wrote on February 11, 2016 to TransCare’s Vice President of Transit Services Thomas

 Fuchs and Chief Operating Officer Peter Wolf, both of whom together with Youngblood were

 being promised positions in Tilton’s new venture.

        90.     On February 14, 2016, Pelissier, from a non-Patriarch e-mail address, submitted a

 detailed plan to TransCare’s executives to prepare to transfer TransCare’s lucrative MTA

 paratransit business, as well as several other lucrative ambulance divisions.

        91.     On February 18, 2016, TransCare signed a revised engagement agreement with

 Curtis Mallet to file a Chapter 7 bankruptcy case for all the TransCare entities. Stephen continued

 to serve as the main point of contact for Curtis Mallet in planning TransCare’s bankruptcy, even

 as he was handling PPAS’s “foreclosure” of TransCare’s assets.

        92.     At the same time as Tilton sought to obtain TransCare’s assets, she declined to pay

 the payroll taxes for TransCare’s employees.          By February 24, 2016, TransCare owed

 approximately $1.148 million in payroll taxes for 2016, plus at least $172,000 in penalties and

 interest. 5 Tilton allowed TransCare to operate without paying payroll taxes or reserving for them.

 For example, on February 19, 2016, when Carl Marks advised Tilton that TransCare lacked the

 funds necessary to pay payroll, 401(k) obligations, and outstanding payroll taxes from earlier pay

 dates, as well as other critical expenses, Tilton chastised Carl Marks for seeking her direction and

 instead told Carl Marks to “make decisions on what needs to be paid.”

        93.     TransCare had a contractual right to obtain funding for these ongoing obligations,

 but Tilton refused to request funding under the Ark II Credit Agreement. Rather, Tilton decided




 5
   Proofs of claim filed by the Internal Revenue Service affirm that TransCare owed $1.474 million
 in payroll taxes plus $.826 million in penalties and $.124 million in interest.

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 to ignore her fiduciary obligations to TransCare (or the statutes requiring payment of those

 amounts) and focus on her efforts to strip TransCare’s assets for herself.

        94.     PPAS, Transcendence Transit, Inc., and Transcendence Transit II, Inc. have

 represented in filings with the Bankruptcy Court for the Southern District of New York that PPAS

 effectuated an Article 9 “strict foreclosure” of certain of TransCare’s assets, including its

 paratransit division and its ambulances. 6

        95.     On February 24, 2016 at 12:07 a.m., Stephen e-mailed a three-paragraph “Notice

 of Acceptance of Subject Collateral in Partial Satisfaction of Obligation” dated February 24, 2016

 to TransCare’s Chief Operating Officer Peter Wolf. There is no documentation showing when

 TransCare signed this document. 7 This document was signed by Tilton for PPAS, Zohar I, Zohar

 II, Zohar III, and Ark Investment. The document states that PPAS was accepting certain collateral

 – including (i) the MTA Contract, but not the stock of the performing party thereunder, TransCare

 New York, Inc., (ii) the stock of TransCare Pennsylvania, Inc., TC Hudson Valley Ambulance

 Corp., and TC Ambulance Corporation, (iii) two vendor contracts, and (iv) all of TransCare’s

 personal property (excluding account receivables, non-enumerated contracts/ leases, and the stock

 of the other TransCare entities) – pursuant to section 9-620 of the Uniform Commercial Code in

 satisfaction of $10,000,000 owed under the PPAS Credit Agreement.



 6
   Tilton and various of her entities (including Patriarch Partners, LLC, PPAS, Ark II, and Ark
 Investment) have similarly represented in filings with the District Court for the Eastern District of
 New York that “TransCare’s term loan lenders” foreclosed on the MTA Contract. National Labor
 Relations Board v. Transcendence Transit II, Inc. et al., Case No. 1:17-mc-00913-SJ (E.D.N.Y.).
 7
    Defendants have not provided a document showing any communication of TransCare’s
 acceptance of the February 24, 2016 “Notice of Acceptance of Subject Collateral in Partial
 Satisfaction of Obligation.” Further, Defendants have similarly failed to produce the documents
 showing the ownership of Transcendence Transit, Inc. and the allocation of the foreclosed assets
 to the outstanding loans.

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        96.     However, the document does not provide notice to any of the other creditors

 secured by the same collateral (i.e., Wells Fargo), or explain the basis for the $10,000,000

 valuation of the collateral (which Patriarch had internally stated related to tens of millions of

 dollars of annual revenues). Further, Tilton controlled TransCare by serving as its sole director

 (including at the time of the “strict foreclosure”), and the signatory for TransCare on this document

 (Peter Wolf) testified at TransCare’s Meeting of Creditors under Bankruptcy Code section 341

 that he was asked by Patriarch and/ or Tilton to sign backdated documents.

        97.     Also on February 24, 2016, Tilton issued a number of board resolutions as the sole

 member of Transcendence’s board of directors purporting to (a) exercise control over TransCare’s

 assets, including borrowing an additional $10 million from an entity owned and controlled by

 Tilton and granting PPAS security interests in Transcendence’s assets, and (b) authorize

 Transcendence to enter into transactions transferring and assigning leases and contracts from

 TransCare to Transcendence.

        98.     For example, on February 24, 2016, Tilton signed a written consent of the sole

 director of Transcendence Transit II, Inc. authorizing Transcendent Transit II to enter into an

 Assignment Agreement with TransCare New York, Inc., whereby TransCare New York, Inc.

 would assign its Access-A-Ride Transportation Service Agreement with the MTA to

 Transcendence Transit II. Tilton’s written consent stated that “TransCare desires to transfer and

 assign the [MTA] Agreement.” By contrast, PPAS’, Transcendence Transit’s, and Transcendence

 Transit II’s filings with the Bankruptcy Court claimed that PPAS foreclosed on TransCare’s MTA

 contract and took it from TransCare. The written consent also stated that “the MTA has heretofore

 provided TransCare with its consent to the Assignment.” This statement is inconsistent with the

 affidavit, made under penalty of perjury by Brian Stephen, stating that the MTA never approved



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 the assignment: “Transcendence II could not operate without being assigned the Access-A-Ride

 contract, and NYC Transit never approved its transfer.” 8

         99.     In addition, pursuant to a Bill of Sale, Agreement to Pay and Transfer Statement

 dated February 24, 2016, TransCare’s foreclosed assets and the stock of TransCare Pennsylvania,

 Inc., TC Hudson Valley Ambulance Corp., and TC Ambulance Corporation were transferred to

 Transcendence Transit, Inc.

         100.    Although PPAS executed the foreclosure, Tilton took the position that Ark II was

 the senior secured lender in the foreclosed assets and distributed proceeds received on account of

 the same to Ark II and not to PPAS.

         101.    In October 2017, Ark II filed proofs of claim against TransCare stating that as of

 the petition date it was owed $1,867,423.97 under the Ark II Credit Agreement, and also that the

 resulting claim is secured. These proofs of claim also state that Ark II received $800,000.00 in

 connection with the Trustee’s sale of assets, reducing the claimed amount to $1,077,966.97.

         102.    The Trustee paid out $800,000.01 to PPAS – not Ark II – pursuant to a court order

 dated March 25, 2016 [Dkt. No. 52]. PPAS failed to disclose to the Court or the Trustee that these

 funds would be forwarded to Ark II. In fact, PPAS represented that it held “first-priority security

 interests” in the property to be sold and was entitled to “gift” part of its proceeds for the benefit of

 an employee wage claim fund on account of its lien position [Dkt. No. 49 at ¶¶ 9, 19]. Additionally,

 the March 25, 2016 stipulation agreed to by PPAS and the Trustee – and so-ordered by the Court

 – disclosed the existence of the intercreditor agreement between PPAS and Wells Fargo, while



 8
   The Trustee has discovered at least one TransCare board resolution corresponding to the
 Transcendence board resolutions: one authorizing TransCare to transfer and assign a medical
 equipment lease to Transcendence (again stating that “the Corporation desires to transfer and
 assign the Agreement.”).

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 failing to disclose the intercreditor agreement between PPAS and Ark II or the existence of liens

 in Ark II’s favor separate from those of PPAS [Dkt. No. 52-1 at Recitals, ¶ 4].

 The Bankruptcy Filing

         103.   On February 24, 2016, Tilton directed 11 of the 14 TransCare entities to file for

 chapter 7 bankruptcy protection, excluding those three entities holding the assets she sought to

 obtain via the strict foreclosure (TransCare Pennsylvania, Inc., TC Hudson Valley Ambulance

 Corp., and TC Ambulance Corporation).

         104.   According to PPAS, “insurmountable logistical issues” subsequently prevented it

 from continuing TransCare’s paratransit and other business operations under the Transcendence

 label and that such issues “outmatched” PPAS’s “desire and commitment to continue without those

 business lines.”

         105.   Late at night on February 25, Patriarch, and in particular Stephen (still purportedly

 the lawyer for TransCare’s board of directors), realized that the Transcendence plan would not

 succeed. At 10:53 p.m., despite the automatic stay having gone into effect the day before, Stephen

 e-mailed TransCare executives and directed them to steal assets from TransCare: “As a result, we

 need to try and secure as many assets (ambulances, equipment, etc.) as possible as quickly as we

 can. … I am not entirely sure where the most valuable assets are, but it makes sense to target those

 first – if those assets can be moved.”

         106.   Later that evening, Pelissier followed up on Stephen’s directive, instructing the

 TransCare executives to transfer TransCare’s account receivables server out of the Debtors’

 warehouse. Uncomfortable with this activity, TransCare’s vice president refused and rejected

 Tilton’s offer to join Transcendence, instead properly alerting the Trustee to the ongoing unlawful

 activity.



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         107.      At a meeting of interested parties, including the Trustee and a representative of

 PPAS on February 25, 2016, the Trustee was advised that PPAS had conducted a strict foreclosure

 of the paratransit, Pittsburgh, and Hudson Valley divisions and told that those divisions’ assets

 were not part of the bankruptcy estates. It was only long after ceasing their operations, on or about

 April 25, 2018, that Tilton caused those entities to also file for Chapter 7, and they were assigned

 to the Trustee.

                                    FIRST CLAIM FOR RELIEF

                        Breach of Fiduciary Duty of Loyalty and Good Faith

                                        (Against Lynn Tilton)

         108.      The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth herein.

         109.      While she served as the sole board member of the Debtors, Tilton owed an

 undivided duty of loyalty and good faith to the Debtors.

         110.      Tilton lacked independence because she also was the principal of TransCare’s

 lenders PPAS and Ark II, the collateral manager for three of the lenders in the PPAS Credit

 Agreement, and the owner of Ark II.

         111.      Tilton breached her duty of loyalty by actively impeding TransCare’s attempts to

 monetize its assets and by instead working to strip TransCare of the same assets. Tilton made

 decisions for the benefit of herself, PPAS, Ark II, and her other companies, as opposed to the

 benefit of TransCare.

         112.      Tilton knew or should have known of the requirements of the Worker Adjustment

 and Retraining Notification Act (the “WARN Act”), 29 U.S.C. § 2101 et seq. and the New York

 Worker Adjustment and Retraining Notification Act (the “NY WARN Act”), N.Y. Labor Law §



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 860 et seq. Further, Tilton knew or should have known that her actions and/ or inaction would

 create potential liability under the WARN Act and the NY WARN Act.

         113.    As a direct and proximate cause of Tilton’s breaches of the duty of loyalty and good

 faith, TransCare’s estates have suffered: (a) unpaid asserted claims (including employee claims,

 WARN Act claims, NY WARN Act claims, and claims for payroll taxes, tax penalties, and

 interest); (b) loss of proceeds from the potential sale offers; (c) loss of employee wages for work

 performed by TransCare for PPAS, Ark II, Transcendence Transit, Transcendence Transit II, and/

 or Tilton (along with the associated payroll taxes); and (d) loss of ability to continue TransCare’s

 business as a going concern, all in amount to be proven at trial, but believed to be more than $10

 million, plus punitive damages.

                                 SECOND CLAIM FOR RELIEF

                     Aiding and Abetting Breach of Fiduciary Duty of Loyalty

                                            (Withdrawn)



                                   THIRD CLAIM FOR RELIEF

                   Equitable Subordination of All Claims Asserted by Patriarch

 (Against Patriarch Partners Agency Services, LLC, Ark II CLO 2001-1, Limited, Patriarch

                Partners Management Group, LLC, and Patriarch Partners, LLC)

         114.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth herein.

         115.    The Trustee seeks to equitably subordinate all claims asserted by PPAS, Ark II,

 PPMG, and Patriarch Partners against TransCare and its estates pursuant to Bankruptcy Code

 sections 105(a) and 510(c) because these Defendants engaged in inequitable conduct, causing

 injury to the creditors of TransCare and conferring an unfair advantage on these Defendants.

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 Claims have been filed against TransCare and its estates by insiders PPAS, Ark II, PPMG, and

 Patriarch Partners, LLC, all of whom participated in and benefitted from the inequitable conduct.

 Equitable subordination here is consistent with the Bankruptcy Code.

         116.    Tilton, on behalf of these entities, utilized her role as the Debtors’ sole board

 member to direct the Debtors’ conduct to the detriment of and in breach of Tilton’s fiduciary

 obligations to TransCare and their estates.

         117.    The conduct of PPAS, Ark II, PPMG, and Patriarch Partners injured TransCare’s

 estates by, among other things, (i) preventing the Debtors from selling their assets, (ii) causing the

 Debtors to pay millions of dollars to PPAS while TransCare was insolvent, and (iii) attempting to

 strip TransCare of its profitable assets – with the directed assistance of TransCare’s employees –

 on the eve of its bankruptcy filings and even afterwards in violation of the automatic stay.

         118.    In these circumstances, subordinating the claims of PPAS, Ark II, PPMG, and

 Patriarch Partners is consistent with the provisions of the Bankruptcy Code.

         119.    Therefore, the Trustee requests that the claims asserted by PPAS, Ark II, PPMG,

 and Patriarch Partners be subordinated below general unsecured claims and that the liens

 associated with such claims be transferred to TransCare’s estates pursuant to Bankruptcy Code

 section 510(c)(2).

                                  FOURTH CLAIM FOR RELIEF

                                 Recharacterization of Debt as Equity

    (Against Patriarch Partners Agency Services, LLC and Ark II CLO 2001-1, Limited)

         120.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth herein.

         121.    In the alternative to equitably subordinating PPAS’, Ark II’s, PPMG’s, and

 Patriarch Partners’ claims, the Trustee seeks to recharacterize as equity all claims asserted against

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 TransCare and its estates by PPAS and Ark II for funds purportedly loaned pursuant to Bankruptcy

 Code sections 105(a) and 502(a).

          122.   The purported funds advanced by PPAS and Ark II that are documented as loans

 under the PPAS and Ark II Credit Agreements, respectively, were in fact and should be deemed

 to have been capital contributions or equity investments.

          123.   The circumstances of the purported funds advanced by PPAS and Ark II indicate

 that the parties did not intend to create an unconditional obligation for TransCare to repay such

 funds.    Among the indicia evidencing that such funds were capital contributions/equity

 investments, not loans, include: (i) TransCare was severely undercapitalized at all relevant times;

 (ii) PPAS and Ark II were insiders of TransCare when such funds were advanced; (iii) repayment

 of the funds depended on the prospective financial success of TransCare; (iv) PPAS’ and Ark II’s

 equity and purported debt investments in TransCare were roughly proportional; (v) no sinking

 fund (or other accumulated funds set aside to repay the purported debts) was ever established when

 such funds were advanced; (vi) TransCare’s assets were wholly encumbered when such advances

 were made; (vii) the advances were subordinated to the claims of lender Wells Fargo with respect

 to TransCare’s valuable contract rights and certain other intangible property; and (viii) Patriarch

 rejected consideration of offers for all or part of TransCare’s assets in an attempt to arrogate the

 value of those assets for itself.

          124.   The Trustee seeks a judgment recharacterizing as equity PPAS’s and Ark II’s

 claims for amounts purportedly loaned under the 2003 and Ark II Credit Agreements, disallowing

 their respective claims pursuant to Bankruptcy Code section 502, and transferring their liens to

 TransCare’s estates or voiding their respective liens under Bankruptcy Code section 506(d).




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                                  FIFTH CLAIM FOR RELIEF

                   Replaced – Objection to Claims, Liens and Security Interests

         125.    The Fifth Claim for Relief objecting to claims, liens and security interests has been

 replead within the Third, Fourth, Seventh, Tenth, Eleventh, and Fourteenth Claims for Relief.

                                  SIXTH CLAIM FOR RELIEF

                    Lender Liability, Common Law Breach of Fiduciary Duty,
                           and Common Law Assumption of Control

  (Against Patriarch Partners Agency Services, LLC, Patriarch Partners, LLC, Patriarch
 Partners Management Group, LLC, Ark II CLO 2001-1, Limited, Transcendence Transit,
                         Inc., and Transcendence Transit II, Inc.)

         126.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth herein.

         127.    Patriarch was in complete domination of the finances, policy, and business practices

 of TransCare. Tilton’s role as sole director placed Patriarch in a position of trust and unusual

 advantage vis-à-vis TransCare.

         128.    Patriarch’s domination over TransCare resulted in TransCare having no separate or

 independent mind, will, or existence of its own.

         129.    Patriarch exploited this control to cause TransCare to make transfers and decisions

 that rendered TransCare unable to pay employees and critical vendors (including vendors

 necessary for the maintenance of its ambulance fleet), to engage in the failed Transcendence

 scheme, and to deny TransCare the ability to explore refinancing or asset sales.

         130.    As a direct and proximate cause of Patriarch’s wrongful acts, TransCare’s estates

 have suffered: (a) unpaid asserted claims (including employee claims, WARN Act claims, NY

 WARN Act claims, and claims for payroll taxes, tax penalties, and interest); (b) loss of proceeds

 from the potential sale offers; (c) loss of employee wages for work performed by TransCare for


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 PPAS, Ark II, Transcendence Transit, Transcendence Transit II, and/ or Tilton (along with the

 associated payroll taxes); and (d) loss of ability to continue TransCare’s business as a going

 concern, all in amount to be proven at trial, but believed to be more than $10 million, plus punitive

 damages.

                                 SEVENTH CLAIM FOR RELIEF

                Actual Fraudulent Transfer; Recovery of Same; Claim Disallowance

       (Against Patriarch Partners Agency Services, LLC, Ark II CLO 2001-1, Limited,

                 Transcendence Transit, Inc., and Transcendence Transit II, Inc.)

         131.     The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth herein.

         132.     On February 24, 2016, Patriarch and Tilton – via PPAS – purported to conduct a

 “strict foreclosure” of certain valuable assets of TransCare for their own benefit. This “strict

 foreclosure” was ineffective and commercially unreasonable, constituted an attempt to defraud

 TransCare and its creditors, and did in fact defraud TransCare and its creditors.

         133.     The “strict foreclosure” purporting to transfer property from TransCare to (i) PPAS

 (as provided by the February 24, 2016 Notice of Acceptance of Subject Collateral), (ii)

 Transcendence Transit (provided by the February 24, 2016 Bill of Sale, Agreement to Pay and

 Transfer Statement), and (iii) Transcendence Transit II (provided by the February 24, 2016

 Assignment Agreement), was ordered by Tilton and executed by Patriarch while TransCare was

 insolvent and unable to pay millions owing to other vendors, including vendors critical to the

 maintenance of the TransCare’s ambulance fleet. Tilton and Patriarch’s acts in ordering and

 conducting the strict foreclosure materially damaged the subject assets, effectively destroying even

 the possibility of realizing the value all parties had agreed existed.



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         134.     These transfers further caused TransCare not to be able to operate as a going

 concern, to the detriment of TransCare’s estates.

         135.     Therefore, the Trustee seeks damaged suffered by TransCare for these fraudulent

 transfers of TransCare’s property to PPAS, Transcendence Transit, or Transcendence Transit II as

 actual fraudulent transfers pursuant to Bankruptcy Code sections 548(a)(1)(A) and N.Y. Debtor &

 Creditor Law sections 276 and 276-a, made applicable by Bankruptcy Code section 544(b).

         136.     Because the “strict foreclosure” substantially damaged the value of TransCare’s

 assets, the Trustee seeks to recover their value immediately prior to the transfers pursuant to

 Bankruptcy Code section 550(a).

         137.     As noted above, PPAS and Ark II have filed claims against TransCare. The Trustee

 also seeks a judgment disallowing their respective claims, pursuant to Bankruptcy Code section

 502(d), unless they have paid to the Trustee the amount for which they are determined to be liable

 under section 550(a).

                                  EIGHTH CLAIM FOR RELIEF

                            Replaced – Recovery of Avoided Transfers

                                      (Against All Defendants)

         138.     The Eighth Claim for Relief has been replead within the Seventh, Tenth, Eleventh,

 and Fourteenth Claims for Relief.

                                   NINTH CLAIM FOR RELIEF

                                  Violation of the Automatic Stay

                                      (Against All Defendants)

         139.     The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth.



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           140.   Defendants’ conduct in attempting to obtain property of TransCare postpetition,

 including – without limitation – negotiations to obtain the MTA Contract, efforts to consummate

 the “strict foreclosure,” and efforts to obtain estate property, constituted violations of the automatic

 stay provided for in section 362(a) of the Bankruptcy Code.

           141.   The Defendants are guilty of civil contempt for the above transfers.

                                    TENTH CLAIM FOR RELIEF

                  Preferential Transfer; Avoidance of Same; Preservation of Lien

                                 (Against Ark II CLO 2001-1, Limited)

           142.   The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth herein.

           143.   Ark II asserts in its proofs of claim that it has a valid lien on substantially all of the

 Debtors’ assets as of the petition date, and proceeds thereof, by virtue of the security interest

 granted to Ark II under the Security Agreement, dated as of January 15, 2016, and Ark II’s filing

 of a UCC-1 Financing Statement on January 29, 2016.

           144.   The Trustee seeks the avoidance of said lien, pursuant to Bankruptcy Code section

 547(b).

           145.   Each of the grant of a security interest to Ark II and Ark II’s perfection of the same,

 constitutes a “transfer of an interest of the debtor in property ... to or for the benefit of a creditor”

 (Ark II), under section 547(b)(1).

           146.   Said transfers were “for or on account of an antecedent debt owed by the debtor

 before such transfer was made” under section 547(b)(2). Virtually all, if not all, of the transfers

 which are the subject of Ark II’s proofs of claim, were made before the Ark II Credit Agreement

 was entered into; accordingly, if not recharacterized as an equity investment, the transfer to Ark II



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 of a lien on TransCare’s property was on account of an antecedent unjust enrichment or other

 quasi-contract claim of Ark II.

         147.    Said transfers were “made while the debtor was insolvent,” under section 547(c)(3)

 and Bankruptcy Code section 101(32)(A). The Debtors were also presumptively insolvent at the

 time of the subject transfers under section 547(f).

         148.    The subject transfers were made within a month prior to the petition date, well

 within the preference period under section 547(b)(4)(A).

         149.    The transfer of the lien would enable Ark II to be treated as a secured creditor, and

 therefore receive more than it would receive had the transfer not been made, under section

 547(b)(5)(B).

         150.    The Trustee requests a judgment avoiding Ark II’s lien, pursuant to section 547.

 The Trustee also seeks relief under Bankruptcy Code section 551 with respect to the Ark II lien

 avoided; specifically, a judgment that said lien is preserved for the benefit of the Debtors’ estates,

 and that the Trustee succeeds to the priority that Ark II’s lien enjoyed over PPAS’s lien, pursuant

 to Section 2.2 of the 2016 Intercreditor Agreement, which as noted above provides for the

 subordination of PPAS’s lien and right to payment to Ark II’s lien and right to payment.

         151.    As noted above, Ark II has filed claims against TransCare. The Trustee also seeks

 a judgment disallowing its claims, pursuant to Bankruptcy Code section 502(d), unless it has paid

 to the Trustee the amount for which it is determined to be liable under section 550(a).

                                 ELEVENTH CLAIM FOR RELIEF

          Constructive Fraudulent Transfer; Recovery of Same; Claim Disallowance

    (Against Patriarch Partners Agency Services, LLC and Ark II CLO 2001-1, Limited)

         152.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth herein.

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        153.    In 2015, Tilton and Patriarch caused TransCare to pay over $3.38 million as interest

 payments to PPAS under the PPAS Credit Agreement: (a) $269,399.96 on January 2, 2015; (b)

 $286,690.23 on January 30, 2015; (c) $39,000 on February 5, 2015; (d) $294,561.54 on March 4,

 2015; (e) $56,306.41 on April 3, 2015; (f) $269,399.96 on April 6, 2015; (g) $326,672.04 on May

 6, 2015; (h) $334,905.69 on June 8, 2015; (i) $225,811.02 on July 8, 2015; (j) $170,763.52 on

 August 3, 2015; (k) $164,040.67 on August 4, 2015; (l) $349,797.54 on September 4, 2015; (m)

 $291,565.72 on October 7, 2015; (n) $100,000 on October 30, 2015; and (o) $201,209.61 on

 November 4, 2015.

        154.    In addition, on February 10, 2016, TransCare transferred a security interest to Ark

 II on account of purported antecedent debts.

        155.    These payments were made at a time when TransCare was insolvent with

 unreasonably small capital and an awareness of its inability to pay its creditors.

        156.    The payments to PPAS and the lien transfer to Ark II were not made in good faith

 and without receipt of fair consideration because PPAS, Ark II, and Tilton were insiders of

 TransCare.

        157.    Additionally, the payments were made in part or wholly on account of loans which

 were actually equity contributions, and as a consequence, TransCare did not receive reasonably

 equivalent value in exchange for these payments.

        158.    The Trustee seeks a judgment avoiding these transfers of TransCare’s property to

 PPAS and Ark II as constructive fraudulent transfers pursuant to N.Y. Debtor & Creditor Law

 sections 273, 274, and 275, made applicable by Bankruptcy Code section 544(b).

        159.    The Trustee also seeks a judgment recovering the same transfers, pursuant to

 Bankruptcy Code section 550(a).



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         160.    As noted above, PPAS and Ark II have filed proofs of claim against TransCare.

 The Trustee also seeks a judgment disallowing these claims pursuant to Bankruptcy Code section

 502(d), unless they have paid to the Trustee the amount for which they are determined to be liable

 under section 550(a).

                                 TWELFTH CLAIM FOR RELIEF

                                       Payment Subordination

                         (Against Patriarch Partners Agency Services, LLC)

         161.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth herein.

         162.    PPAS filed proofs of claim against TransCare stating that it is owed over $44

 million under the PPAS Credit Agreement as of the petition date, and that the subject claims are

 secured.

         163.    As noted above, Section 2.2 of the 2016 Intercreditor Agreement provides for the

 subordination of PPAS’s lien and right to payment to Ark II’s lien and right to payment.

         164.    Specifically, Section 2.2 provides:

                 Priority of Liens. [T]he Liens upon the Ark Facility Priority Collateral
                 of [Ark II] have and shall have priority over the Liens upon [said]
                 Collateral of [PPAS] and such Liens of [PPAS] in the Ark Facility
                 Priority Collateral are and shall be, in all respects, subject and
                 subordinate to the Liens of [Ark II] in [said] Collateral.

                 (a) Payments. The proceeds of any Collateral shall be [distributed] in
                 the following order of priorities:

                 (i) first, to the payment in full … of the expenses of the collection …
                        of the Ark Facility Obligations [defined by reference to Ark II
                        Credit Agreement]

                 (ii) second, to the payment in full … of the expenses of the collection
                         of the … [PPAS] Obligations [similar definition]

                 (iii) third, to the payment in full … of all of the Ark Facility Obligations
                          … and
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                 (iv) fourth, to the payment in full … of all of the [PPAS] Obligations.

         165.    “Payment in full,” in turn, is defined as including “all interest accrued or accruing

 … after the commencement of an Insolvency Proceeding in accordance with and at the rate

 specified in the applicable agreement whether or not the claim for such interest is allowed.”

         166.    If Ark II’s lien is successfully avoided, and the value of the same is preserved for

 the benefit of the Debtors’ estates as a result under sections 547 and 551, then Ark II’s claim is

 unsecured and afforded the same priority as Debtors’ other unsecured claims under Bankruptcy

 Code section 726.

         167.    The Trustee requests a judgment that PPAS is not entitled to any payment on

 account of its claims arising under the PPAS Credit agreement, by operation of Section 2.2(a) of

 the 2016 Intercreditor Agreement and Bankruptcy Code section 510(a), unless and until Ark II has

 been paid in full on account of its claim.

                                 THIRTEENTH CLAIM FOR RELIEF

                                        Limitation on Liens

    (Against Patriarch Partners Agency Services, LLC and Ark II CLO 2001-1, Limited)

         168.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth herein.

         169.    Pursuant to the Security Agreements executed by TransCare in favor of each of Ark

 II and PPAS, Ark II and PPAS were each granted a blanket security interest in all property

 TransCare then had or would thereafter acquire.

         170.    The security interest covered proceeds, products, and offspring of each category or

 type of property identified in the Security Agreement (e.g., chattel paper, equipment, etc.).

         171.    Pursuant to Bankruptcy Code section 552(b), if a security interest extends to

 property of the debtor acquired prepetition and to proceeds, products, and offspring of the same,

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 then the security interest extends to such proceeds, products, and offspring acquired by the debtor’s

 estate postpetition, “except to the extent that the court ... after notice and a hearing and based on

 the equities of the case, orders otherwise.”

         172.    Postpetition the Trustee sold substantially all of the Debtors’ property in several

 Bankruptcy Code section 363 sales. Cash proceeds of said sales constitutes proceeds, products,

 and offspring of Ark II’s and PPAS’s prepetition collateral under section 552(b).

         173.    The Trustee seeks a judgment applying the “equities of the case” exception in

 section 552(b) for reasons set forth herein, and concluding that Ark II’s and PPAS’s security

 interests do not extend to cash proceeds of section 363 sales consummated in these cases.

                                 FOURTEENTH CLAIM FOR RELIEF

                Turnover of Estate Property; Avoidance of Postpetition Transfer

    (Against Patriarch Partners Agency Services, LLC and Ark II CLO 2001-1, Limited)

         174.    The Trustee realleges and incorporates the allegations of the preceding paragraphs

 as if fully set forth herein.

         175.    By Order, entered March 25, 2016, the Court approved a carveout stipulation, dated

 March 10, 2016, among the Trustee, PPAS, and Transcendence.

         176.    The recitals to the agreement explained that a dispute existed between the Trustee,

 on the one hand, and PPAS and Transcendence, on the other, concerning the validity of the alleged

 strict foreclosure by PPAS and transfer of foreclosed property to Transcendence.

         177.    By the stipulation, PPAS and Transcendence consented to the sale of the subject

 property at auction, and the parties further agreed that their liens “if any” on said property would

 attach to the sale proceeds. The parties also agreed to the establishment of a carveout from the

 sale proceeds in an amount needed to pay property preservation- and sale-related professional fees



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 and costs, and that 20% of net sale proceeds would be distributed to the Trustee and the 80%

 balance would be distributed to PPAS.

        178.    The parties further agreed that nothing in the stipulation constitutes a waiver of the

 Trustee’s right to challenge any party’s claims, or interests in the property sold.

        179.    PPAS was paid $800,000.01 on an interim basis, pursuant to the stipulation.

        180.    Ark II later filed proofs of claim indicating that the same $800,000.01 was then

 transferred to Ark II. PPAS never disclosed that these funds would be transferred from PPAS in

 connection with the negotiation of the March 10, 2016 stipulation or the approval of the March 25,

 2016 court order.

        181.    By this action, the Trustee has challenged PPAS’s and Ark II’s claims against

 TransCare, and liens on the subject property.

        182.    In the event that the Trustee prevails on its causes of action challenging said claims

 and/ or liens, PPAS will not have had any entitlement to any portion of the sale proceeds on account

 of its alleged claim.

        183.    Judgment should then be entered determining that PPAS owes a debt to the Trustee

 in the amount of $800,000.01, and directing the turnover of said funds to the Trustee, pursuant to

 Bankruptcy Code section 542(b).

        184.    Judgment should also then be entered avoiding the postpetition transfer to PPAS of

 the $800,000.01, and directing the recovery of the same from PPAS and Ark II, pursuant to section

 550(a). Alternatively, judgment should be entered avoiding the postpetition transfer to Ark II of

 the $800,000.01 as a transfer not authorized by the Court’s March 25, 2016 order, and directing

 recovery of the same from Ark II pursuant to section 550(a).




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        185.    Judgment should also then be entered disallowing PPAS’s and Ark II’s claims,

 pursuant to Bankruptcy Code section 502(d), unless they have paid to the Trustee the amount for

 which they are determined to be liable under section 550(a).

        WHEREFORE, the Trustee respectfully requests that this Court enter judgment in the

 Trustee’s favor against the Defendants to each claim for relief, in the amount requested by each

 claim for relief, plus attorneys’ fees and costs, punitive damages, prejudgment interest, where

 applicable, together such other and further relief as this Court deems just and proper.

 Dated: New York, New York                     Respectfully submitted,
        November 28, 2018

                                               /s/ Bijan Amini
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                                               Chapter 7 Trustee




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 Attorneys for Defendants

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

  In re                                                   Chapter 7
          TRANSCARE CORPORATION, et al.,                  Case No. 16-10407 (SMB)
                              Debtors.                    (Jointly Administered)

  SALVATORE LAMONICA, as Chapter 7 Trustee
  for the Estates of TransCare Corporation, et al.,       Adv. Proc. No. 18-01021
                               Plaintiff,
           v.
  LYNN TILTON, et al.,
                               Defendants.




    DEFENDANTS’ AMENDED ANSWER TO CHAPTER 7 TRUSTEE’S AMENDED
                           COMPLAINT


          Defendants Lynn Tilton, Patriarch Partners Agency Services, LLC (“PPAS”), Patriarch

 Partners, LLC (“Patriarch Partners”), Patriarch Partners Management Group, LLC (“PPMG”),

 Ark II CLO 2001-1, Limited (“Ark II”), Transcendence Transit, Inc. (“Transcendence Transit”)




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 and Transcendence Transit II, Inc. (together with Transcendence Transit, “Transcendence”),1 for

 their Amended Answer to the Amended Complaint (“Complaint”) filed in the above-captioned

 adversary case by Salvatore LaMonica, as Chapter 7 Trustee (“Trustee”) of the above-named

 Debtors (collectively, “TransCare”), state as follows:

         1.       Admit the allegations in paragraph 1 of the Complaint.

         2.       State that the allegations in paragraph 2 of the Complaint constitute legal

 conclusions to which no response is required.

         3.       Deny the allegations in paragraph 3 of the Complaint.

         4.       Respond to the allegations in paragraph 4 by: (a) admitting that Ms. Tilton is the

 owner of PPAS, (b) referring the Court to the referenced term loan for its terms, and (c)

 otherwise denying the allegations in paragraph 4 of the Complaint.

         5.       Deny the allegations in paragraph 5 of the Complaint.

         6.       Deny the allegations in paragraph 6 of the Complaint.

         7.       State that the allegations in paragraph 7 of the Complaint are not directed to

 Defendants and do not require a response. To the extent a response is required, Defendants deny

 the allegations in paragraph 7.

         8.       Admit the allegations in the first sentence of paragraph 8 of the Complaint.

 Admit the allegations in the second and third sentences of paragraph 8 of the Complaint. Deny

 knowledge or information sufficient to form a belief as to the truth of the allegations in the fourth

 sentence of paragraph 8 of the Complaint.




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  As used herein, the term “Defendants” refers collectively to Ms. Tilton, PPAS, Patriarch Partners, PPMG, Ark II
 and Transcendence. As used herein, the term “Entity Defendants” refers collectively to all Defendants except Ms.
 Tilton.

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        9.      Respond to the allegations in paragraph 9 of the Complaint by: (a) stating that

 PPAS, Patriarch Partners, PPMG and Ark II have a principal place of business at 1 Liberty

 Street, 35th Floor, New York, New York, (b) stating that Transcendence had no headquarters, and

 (c) otherwise admitting the allegations in paragraph 9.

        10.     Respond to the allegations in paragraph 10 of the Complaint by: (a) referring the

 Court to the referenced Credit Agreement for its terms and denying anything inconsistent with

 those terms, (b) stating that PPAS has a principal place of business at 1 Liberty Street, 35th Floor,

 New York, New York, (c) denying that PPAS is a limited liability corporation, and (d) otherwise

 admitting the allegations in paragraph 10.

        11.     Respond to the allegations in paragraph 11 of the Complaint by: (a) stating that

 Patriarch Partners has a principal place of business at 1 Liberty Street, 35th Floor, New York,

 New York (b) denying that Patriarch Partners is a limited liability corporation, and (c) otherwise

 admitting the allegations in paragraph 11.

        12.     Respond to the allegations in paragraph 12 of the Complaint by: (a) stating that

 PPMG has a principal place of business at 1 Liberty Street, 35th Floor, (b) denying that PPMG is

 a limited liability corporation, and (c) otherwise admitting the allegations in paragraph 12.

        13.     Respond to the allegations in paragraph 13 of the Complaint by: (a) admitting that

 Ark II holds about a 55.7% stock interest in TransCare with its principal place of business in

 New York City, (b) admitting that Ms. Tilton held 99% of the equity in Ark II, (c) referring the

 Court to the referenced Credit Agreement for its terms and denying anything inconsistent with

 those terms, and (d) otherwise denying the allegations in paragraph 13.

        14.     Admit the allegations in paragraph 14 of the Complaint.




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           15.   State that the allegations in paragraph 15 of the Complaint constitute legal

 conclusions to which no response is required.

           16.   State that the allegations in paragraph 16 of the Complaint constitute legal

 conclusions to which no response is required. To the extent a response is required, Defendants

 deny the allegations in paragraph 16 of the Complaint.

           17.   State that the allegations in paragraph 17 of the Complaint constitute legal

 conclusions to which no response is required, except deny knowledge or information sufficient to

 form a belief as to the Trustee’s alleged consent.

           18.   State that the allegations in paragraph 18 of the Complaint constitute legal

 conclusions to which no response is required.

           19.   Admit the allegations in paragraph 19 of the Complaint.

           20.   Admit the allegations in paragraph 20 of the Complaint.

           21.   Admit the allegations in paragraph 21 of the Complaint.

           22.   Respond to the allegations in paragraph 22 of the Complaint by: (a) referring the

 Court to the referenced chapter 11 plan for its terms, (b) stating that Tilton was the indirect

 owner of 51% of TransCare and its sole director during the period of time relevant to this

 adversary proceeding, and (c) otherwise denying the allegations in paragraph 22.

           23.   Respond to the allegations in paragraph 23 of the Complaint by: (a) referring the

 Court to the referenced chapter 11 plan and referenced Credit Agreement for their respective

 terms and denying anything inconsistent with those terms, and (b) stating Ms. Tilton was the

 owner and manager of Ark Investment Partners II, L.P. (“AIP”) and held 99% of the equity in

 Ark II.




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        24.     Respond to the allegations in paragraph 24 of the Complaint by referring the

 Court to the referenced Credit Agreement and Security Agreement for their terms and denying

 anything inconsistent with their terms.

        25.     Respond to the allegations in the first sentence of paragraph 25 of the Complaint

 by referring the Court to applicable loan documents for their terms and denying anything

 inconsistent with their terms. Deny the allegations in the second sentence of paragraph 25 of the

 Complaint, except state that during the period of time relevant to this adversary proceeding Ms.

 Tilton was the sole owner and manager of PPAS.

        26.     Respond to the allegations in paragraph 26 of the Complaint by: (a) referring the

 Court to the referenced Intercreditor Agreement and MTA Contract for their respective terms

 and denying anything inconsistent with those terms and (b) admitting that, during the period of

 time relevant to this adversary proceeding, the business conducted under the MTA Contract was

 TransCare’s most profitable one.

        27.     Respond to the allegations in paragraph 27 of the Complaint by referring the

 Court to the referenced Credit Agreement and the amendments thereto and denying anything

 inconsistent with their terms.

        28.     Respond to the allegations in paragraph 28 of the Complaint by referring the

 Court to the referenced Credit Agreement and other unspecified “contracts” for their respective

 terms and otherwise denying the allegations in paragraph 28.

        29.     Deny the allegations in paragraph 29 of the Complaint.

        30.     Respond to the allegations in the first sentence of paragraph 30 of the Complaint

 by stating that Ms. Tilton (a) owns and manages AIP and (b) owns, and until March 3, 2016 was

 the collateral manager for Zohar CDO 2003-1, Ltd. (“Zohar I”), Zohar II 2005-1, Ltd. (“Zohar


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 II”) and Zohar III, Ltd. (together with Zohar I and Zohar II, the “Zohar Funds”) through March

 3, 2016. Deny knowledge or information sufficient to form a belief as to the truth of the

 allegations in the second sentence of paragraph 30.

        31.     Respond to the allegations in paragraph 31 of the Complaint by stating that

 TransCare made interest payments pursuant to the terms of the referenced Credit Agreement and

 otherwise denying the allegations in paragraph 31 of the Complaint.

        32.     Respond to the allegations in paragraph 32 of the Complaint by referring the

 Court to the referenced Credit Agreement and any applicable amendments thereto for their

 respective terms and otherwise denying the allegations in paragraph 32.

        33.     Deny the allegations in paragraph 33 of the Complaint.

        34.     Respond to the allegations in paragraph 34 of the Complaint by: (a) referring the

 Court to the referenced authority matrix for its contents, (b) stating that during the period of time

 relevant to this adversary proceeding TransCare did not have a Designated Executive or an

 approved Annual Plan, and (c) otherwise denying the allegations in paragraph 34.

        35.     Deny the allegations in paragraph 35 of the Complaint, except state that during

 the period of time relevant to this adversary proceeding Mr. Stephen was a lawyer employed by

 Patriarch Partners and, among other things, represented Ms. Tilton in her role as a director of

 TransCare.

        36.     Deny the allegations in paragraph 36 of the Complaint.

        37.     Deny the allegations in paragraph 37 of the Complaint.

        38.     Respond to the allegations in paragraph 38 of the Complaint by referring the

 Court to the referenced modification of the Credit Agreement for its terms and otherwise denying

 the allegations in paragraph 38.


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        39.      Respond to the allegations in paragraph 39 of the Complaint by: (a) admitting

 that, during the period of time relevant to this adversary proceeding, TransCare’s most profitable

 business segment was the paratransit business operated under the MTA Contract, and (b)

 otherwise denying knowledge or information sufficient to form a belief as to the truth of the

 allegations in paragraph 39.

        40.      Respond to the allegations in paragraph 40 of the Complaint by admitting that in

 February 2015 TransCare’s then-CEO, Glenn Leland, claimed that TransCare lacked funds

 sufficient to make payroll and sought additional lending to TransCare. Defendants otherwise

 deny knowledge or information sufficient to form a belief as to the truth of the allegations in

 paragraph 40.

        41.      Respond to the allegations in paragraph 41 of the Complaint by referring the

 Court to the quoted correspondence for its full contents.

        42.      Respond to the allegations in paragraph 42 of the Complaint by referring the

 Court to the quoted correspondence for its full contents.

        43.      Deny the allegations in paragraph 43 of the Complaint.

        44.      Deny the allegations in paragraph 44 of the Complaint.

        45.      Respond to the allegations in paragraph 45 of the Complaint by referring the

 Court to the referenced draft Stabilization Plan for its full contents.

        46.      Respond to the allegations in paragraph 46 of the Complaint by referring the

 Court to the quoted correspondence for its full contents.

        47.      Deny the allegations in paragraph 47 of the Complaint, except state that additional

 funds were loaned to TransCare by the Zohar Funds.




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        48.      Respond to the allegations in paragraph 48 of the Complaint by referring the

 Court to the quoted correspondence for its full contents and otherwise denying the allegations in

 paragraph 48.

        49.      Respond to the allegations in paragraph 49 of the Complaint by referring the

 Court to the quoted correspondence for its full contents and otherwise denying the allegations in

 paragraph 49.

        50.      Respond to the allegations in paragraph 50 of the Complaint by referring the

 Court to the quoted correspondence for its full contents and otherwise denying the allegations in

 paragraph 50 and footnote 4.

        51.      Respond to the allegations in paragraph 51 of the Complaint by referring the

 Court to the quoted correspondence for its full contents.

        52.      Deny the allegations in the first three sentences of paragraph 52 of the Complaint,

 except state that TransCare missed payroll on or about July 3, 2015 because Wells Fargo lowered

 TransCare’s funding availability without warning because of purported issues with information

 provided to Wells Fargo by TransCare executives. Deny knowledge or information sufficient to

 form a belief as to the truth of the allegations in the fourth sentence of paragraph 52.

        53.      Respond to the allegations in paragraph 53 of the Complaint by referring the

 Court to the quoted correspondence for its full contents and otherwise denying the allegations in

 paragraph 53.

        54.      Deny the allegations in paragraph 54 of the Complaint.

        55.      Respond to the allegations in paragraph 55 of the Complaint by referring the

 Court to the referenced letter of intent for its full contents and otherwise denying the allegations

 in paragraph 55.


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        56.     Respond to the allegations in paragraph 56 of the Complaint by referring the

 Court to the referenced correspondence for its full contents and otherwise denying the allegations

 in paragraph 56.

        57.     Respond to the allegations in paragraph 57 of the Complaint by referring the

 Court to the referenced correspondence for its full contents and otherwise denying the allegations

 in paragraph 57.

        58.     Respond to the allegations in paragraph 58 of the Complaint by referring the

 Court to the referenced correspondence for its full contents and otherwise denying the allegations

 in paragraph 58.

        59.     Deny the allegations in paragraph 59 of the Complaint, except state that additional

 funds were loaned to TransCare by the Zohar Funds.

        60.     Deny the allegations in paragraph 60 of the Complaint.

        61.     Respond to the allegations in paragraph 61 of the Complaint by referring the

 Court to the referenced correspondence for its full contents and otherwise denying the allegations

 in paragraph 61.

        62.     Deny the allegations in paragraph 62 of the Complaint.

        63.     Respond to the allegations in paragraph 63 of the Complaint by referring the

 Court to the referenced correspondence for its full contents and otherwise denying the allegations

 in paragraph 63.

        64.     Respond to the allegations in paragraph 64 of the Complaint by referring the

 Court to the referenced correspondence for its full contents and otherwise denying the allegations

 in paragraph 64.

        65.     Deny the allegations in paragraph 65 of the Complaint.


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         66.     Respond to the allegations in paragraph 66 of the Complaint by referring the

 Court to the referenced correspondence for its full contents.

         67.     Respond to the allegations in paragraph 67 of the Complaint by referring the

 Court to the referenced correspondence for its full contents.

         68.     Respond to the allegations in paragraph 68 of the Complaint by referring the

 Court to the referenced correspondence for its full contents.

         69.     Respond to the allegations in paragraph 69 of the Complaint by referring the

 Court to the referenced correspondence for its full contents.

         70.     Deny the allegations in paragraph 70 of the Complaint.

         71.     Deny the allegations in paragraph 71 of the Complaint, except state that Ms.

 Tilton did explore the possibility of selling TransCare and communicated with Wells Fargo

 about it.

         72.     Respond to the allegations in paragraph 72 of the Complaint by referring the

 Court to the referenced correspondence for its contents and otherwise denying the allegations in

 paragraph 72.

         73.     Deny the allegations in paragraph 73 of the Complaint, except state that Ms.

 Tilton did explore the possibility of selling TransCare and communicated with Wells Fargo

 about it.

         74.     Deny the allegations in paragraph 74 of the Complaint.

         75.     Deny the allegations in paragraph 75 of the Complaint.

         76.     Respond to the allegations in paragraph 76 of the Complaint by referring the

 Court to the referenced correspondence and financial records for their contents and otherwise

 denying the allegations in paragraph 76.


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        77.      Respond to the allegations in paragraph 77 of the Complaint by referring the

 Court to the Ark II Credit Agreement for its terms and otherwise denying the allegations in

 paragraph 77 of the Complaint.

        78.      Admit the allegations in paragraph 78 of the Complaint.

        79.      Respond to the allegations in paragraph 79 of the Complaint by referring the

 Court to the referenced correspondence for its full contents.

        80.      Respond to the allegations in paragraph 80 of the Complaint by: (a) denying

 knowledge or information sufficient to form a belief as to the truth of the allegations in the first

 sentence of paragraph 80, (b) admitting the allegations in the second sentence of paragraph 80,

 and (c) denying the allegations in the third sentence of paragraph 80.

        81.      Admit the allegations in the first sentence of paragraph 81 of the Complaint.

 Deny the allegations in the second and third sentences of paragraph 81.

        82.      Respond to the allegations in paragraph 82 of the Complaint by referring the

 Court to the referenced P&L statement for its contents and otherwise denying the allegations in

 paragraph 82.

        83.      Respond to the allegations in paragraph 83 of the Complaint by referring the

 Court to the referenced correspondence for its full contents.

        84.      Respond to the allegations in paragraph 84 of the Complaint by: (a) referring the

 Court to the (i) referenced correspondence for its full contents and (ii) documents related to the

 Ark II Credit Agreement for their respective terms, and (b) otherwise denying the allegations in

 paragraph 84 of the Complaint.




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        85.     Respond to the allegations in paragraph 85 of the Complaint by referring the

 Court to the referenced Credit Agreement and covenants for their terms and otherwise denying

 the allegations in paragraph 85.

        86.      Admit the allegations in paragraph 86 of the Complaint.

        87.     Respond to the allegations in paragraph 87 of the Complaint by: (a) stating that,

 on February 12, 2016, TransCare executed direction letters dated January 15 and January 29,

 2016, and referring the Court to the referenced letters for their contents and (b) otherwise

 denying the allegations in paragraph 87.

        88.     Deny the allegations in paragraph 88 of the Complaint.

        89.     Respond to the allegations in paragraph 89 of the Complaint by referring the

 Court to the referenced correspondence for its full contents and otherwise denying the allegations

 in paragraph 89.

        90.     Respond to the allegations in paragraph 90 of the Complaint by referring the

 Court to the referenced “plan” and correspondence sent by Mr. Pelissier from a non-Patriarch

 email address for their full contents and otherwise denying the allegations in paragraph 90.

        91.     Deny the allegations in paragraph 91 of the Complaint.

        92.     Respond to the allegations in paragraph 92 of the Complaint by: (a) referring the

 Court to the referenced correspondence for its full contents, (b) denying knowledge or

 information sufficient to form a belief as to the amount of payroll taxes TransCare owed by

 February 24, 2019, and (c) otherwise denying the allegations in paragraph 92.

        93.     Deny the allegations in paragraph 93 of the Complaint.

        94.     Respond to the allegations in paragraph 94 of the Complaint by referring the

 Court to the referenced court filings for their contents.


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        95.      Respond to the allegations in paragraph 95 of the Complaint by referring the

 Court to the referenced documents for their contents and otherwise denying the allegations in

 paragraph 95.

        96.      Respond to the allegations in the first sentence of paragraph 96 of the Complaint

 by referring the Court to the “Notice of Acceptance of Subject Collateral in Partial Satisfaction

 of Obligation” for its contents. Respond to the allegations in the second sentence of paragraph

 96 of the Complaint by: (a) stating that during the period of time relevant to this adversary

 proceeding Ms. Tilton served as TransCare’s sole director and (b) denying knowledge or

 information sufficient to form a belief as to the referenced testimony.

        97.      Deny the allegations in paragraph 97 of the Complaint.

        98.      Respond to the allegations in paragraph 98 of the Complaint by: (a) referring the

 Court to the referenced written consent and court filings for their respective contents, (b) denying

 knowledge or information sufficient to form a belief as to what the Trustee has allegedly

 discovered, and (c) otherwise denying the allegations in paragraph 98 of the Complaint.

        99.      Respond to the allegations in paragraph 99 of the Complaint by referring the

 Court to the referenced document for its contents and denying that the assets identified in the

 referenced document were ever ultimately transferred to Transcendence Transit.

        100.     Deny the allegations in paragraph 100 of the Complaint, except state that Ark II

 received proceeds from the post-petition sale of assets.

        101.     Respond to the allegations in paragraph 101 of the Complaint by referring the

 Court to the referenced proofs of claim for their contents.




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        102.      Respond to the allegations in paragraph 102 by: (a) referring the Court to the

 referenced court filing for its contents, (b) stating that PPAS received $800,000.01 from the

 Trustee’s post-petition sale of assets, and (c) otherwise denying the allegations in paragraph 102.

        103.      Respond to the allegations in paragraph 103 of the Complaint by stating that Ms.

 Tilton authorized the referenced chapter 7 filings and otherwise denying the allegations in

 paragraph 103.

        104.      Respond to the allegations in paragraph 104 of the Complaint by stating that the

 quoted language appears in the Response of Patriarch Partners Agency Services, LLC to Motion

 for the Entry of an Order, Pursuant to 11 U.S.C. §§ 105 and 721, Authorizing the Chapter 7

 Trustee to Operate the Debtors’ Business and Pay Certain Operating Expenses of These Estates

 [Dkt No. 11] and referring the Court to that filing for its contents.

        105.      Respond to the allegations in paragraph 105 of the Complaint by referring the

 Court to the referenced correspondence from Mr. Stephen for its full contents and otherwise

 denying the allegations in paragraph 105.

        106.      Respond to the allegations in paragraph 106 of the Complaint by referring the

 Court to the referenced correspondence from Mr. Pelissier for its full contents and otherwise

 denying the allegations in paragraph 106.

        107.      Admit the allegations in the first sentence of paragraph 107 of the Complaint and

 deny the allegations in the second sentence of paragraph 107 of the Complaint.

        108.      Ms. Tilton repeats her responses to the allegations in the prior paragraphs of the

 Complaint as if fully set forth herein.

        109.      Ms. Tilton states that the allegations in paragraph 109 of the Complaint constitute

 legal conclusions for which no response is required.


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        110.    Ms. Tilton denies the allegations in paragraph 110 of the Complaint.

        111.    Ms. Tilton denies the allegations in paragraph 111 of the Complaint.

        112.    Ms. Tilton denies the allegations in paragraph 112 of the Complaint.

        113.    Ms. Tilton denies the allegations in paragraph 113 of the Complaint.

        114.    PPAS, Ark II, PPMG and Patriarch Partners repeat their responses to the

 allegations in the prior paragraphs of the Complaint as if fully set forth herein.

        115.    PPAS, Ark II, PPMG and Patriarch Partners lack knowledge or information

 sufficient to form a belief as to what relief the Trustee purports to seek and otherwise deny the

 allegations in paragraph 115 of the Complaint.

        116.    PPAS, Ark II, PPMG and Patriarch Partners deny the allegations in paragraph 116

 of the Complaint.

        117.    PPAS, Ark II, PPMG and Patriarch Partners deny the allegations in paragraph 117

 of the Complaint.

        118.    PPAS, Ark II, PPMG and Patriarch Partners deny the allegations in paragraph 118

 of the Complaint.

        119.    PPAS, Ark II, PPMG and Patriarch Partners lack knowledge or information

 sufficient to form a belief as to what relief the Trustee requests and otherwise deny the

 allegations in paragraph 119 of the Complaint.

        120.    Ark II repeats its responses to the allegations in the prior paragraphs of the

 Complaint as if fully set forth herein.

        121.    Ark II lacks knowledge or information sufficient to form a belief as to what relief

 the Trustee purports to seek and otherwise denies the allegations in paragraph 121 of the

 Complaint.


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        122.    Ark II denies the allegations in paragraph 122 of the Complaint.

        123.    Ark II denies the allegations in paragraph 123 of the Complaint.

        124.    Ark II lacks knowledge or information sufficient to form a belief as to what relief

 the Trustee purports to seek and otherwise denies the allegations in paragraph 124 of the

 Complaint.

        125.    No response is required to paragraph 125 of the Complaint, as it contains no

 allegations.

        126.    The Entity Defendants repeat their responses to the allegations in the prior

 paragraphs of the Complaint as if fully set forth herein.

        127.    No response is required to the allegations in paragraph 127 of the Complaint

 because the Trustee’s Sixth Claim for Relief has been dismissed.

        128.    No response is required to the allegations in paragraph 128 of the Complaint

 because the Trustee’s Sixth Claim for Relief has been dismissed.

        129.    No response is required to the allegations in paragraph 129 of the Complaint

 because the Trustee’s Sixth Claim for Relief has been dismissed.

        130.    No response is required to the allegations in paragraph 130 of the Complaint

 because the Trustee’s Sixth Claim for Relief has been dismissed.

        131.    PPAS, Ark II and Transcendence repeat their responses to the allegations in the

 prior paragraphs of the Complaint as if fully set forth herein.

        132.    PPAS, Ark II and Transcendence deny the allegations in paragraph 132 of the

 Complaint.

        133.    PPAS, Ark II and Transcendence deny the allegations in paragraph 133 of the

 Complaint.


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        134.    PPAS, Ark II and Transcendence deny the allegations in paragraph 134 of the

 Complaint.

        135.    PPAS, Ark II and Transcendence lack knowledge or information sufficient to

 form a belief as to what the Trustee purports to seek and otherwise deny the allegations in

 paragraph 135 of the Complaint.

        136.    PPAS, Ark II and Transcendence lack knowledge or information sufficient to

 form a belief as to what the Trustee purports to seek and otherwise deny the allegations in

 paragraph 136 of the Complaint.

        137.    PPAS, Ark II and Transcendence lack knowledge or information sufficient to

 form a belief as to what the Trustee purports to seek and otherwise deny the allegations in

 paragraph 137 of the Complaint.

        138.    No response is required to paragraph 138 of the Complaint, as it contains no

 allegations.

        139.    Defendants repeat their responses to the allegations in the prior paragraphs of the

 Complaint as if fully set forth herein.

        140.    Defendants deny the allegations in paragraph 140 of the Complaint.

        141.    Defendants deny the allegations in paragraph 141 of the Complaint.

        142.    Ark II repeats its responses to the allegations in the prior paragraphs of the

 Complaint as if fully set forth herein.

        143.    Ark II responds to the allegations in paragraph 143 of the Complaint by referring

 the Court to the referenced proof of claim.

        144.    Ark II lacks knowledge or information sufficient to form a belief as to what the

 Trustee purports to seek and otherwise denies the allegations in paragraph 144 of the Complaint.


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        145.      Ark II states that the allegations in paragraph 145 of the Complaint constitute

 legal conclusions for which no response is required and otherwise denies the allegations in

 paragraph 145.

        146.      Ark II states that the allegations in the first sentence of paragraph 146 of the

 Complaint constitute legal conclusions for which no response is required and otherwise denies

 the allegations in paragraph 146.

        147.      Ark II states that the allegations in the second sentence of paragraph 147 of the

 Complaint constitute legal conclusions for which no response is required and that it otherwise

 lacks knowledge or information sufficient to form a belief as to the truth of the allegations in

 paragraph 147.

        148.      Ark II states that the allegations in paragraph 148 of the Complaint constitute

 legal conclusions for which no response is required, except Ark II states that the subject transfers

 occurred within ninety days of the petition date.

        149.      Ark II states that the allegations in paragraph 149 of the Complaint constitute

 legal conclusions for which no response is required and otherwise denies the allegations in

 paragraph 149.

        150.      Ark II responds to the allegations in paragraph 150 of the Complaint by: (a)

 stating that it lacks knowledge or information sufficient to form a belief as to what the Trustee

 purports to request, (b) referring the Court to the referenced 2016 Intercreditor Agreement for its

 terms, and (c) otherwise denying the allegations in paragraph 150 of the Complaint.

        151.      Ark II responds to the allegations in paragraph 151 of the Complaint by: (a)

 admitting that it has filed claims against TransCare; (b) stating that it lacks knowledge or




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 information sufficient to form a belief as to what the Trustee purports to seek, and (c) otherwise

 denying the allegations in paragraph 151 of the Complaint.

            152.    Ark II repeats its responses to the allegations in the prior paragraphs of the

 Complaint as if fully set forth herein.2

            153.    Ark II states that no response is required of it to the allegations set forth in

 paragraph 153 of the Complaint since those allegations are not about or directed to Ark II.

            154.    Ark II states that the allegations in paragraph 154 of the Complaint constitute

 legal conclusions for which no response is required and otherwise denies the allegations in

 paragraph 154.

            155.    Ark II states that no response is required of it to the allegations set forth in

 paragraph 155 of the Complaint since those allegations are not about or directed to Ark II.

            156.    Ark II states that the allegations in paragraph 156 of the Complaint constitute

 legal conclusions for which no response is required and otherwise denies the allegations in

 paragraph 156.

            157.    Ark II states that no response is required of it to the allegations set forth in

 paragraph 157 of the Complaint since those allegations are not about or directed to Ark II.

            158.    Ark II lacks knowledge or information sufficient to form a belief as to what the

 Trustee purports to seek and otherwise denies the allegations in paragraph 158 of the Complaint.

            159.    Ark II lacks knowledge or information sufficient to form a belief as to what the

 Trustee purports to seek and otherwise denies the allegations in paragraph 159 of the Complaint.

            160.    Ark II lacks knowledge or information sufficient to form a belief as to what the

 Trustee purports to seek and otherwise denies the allegations in paragraph 160 of the Complaint.


 2
     The Trustee’s Eleventh Claim for Relief has been dismissed as against PPAS.

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        161.      PPAS repeats its responses to the allegations in the prior paragraphs of the

 Complaint as if fully set forth herein.

        162.      PPAS responds to the allegations in paragraph 162 of the Complaint by referring

 the Court to the referenced proofs of claim for their contents.

        163.      PPAS responds to the allegations in paragraph 163 of the Complaint by referring

 the Court to the referenced Intercreditor Agreement for its terms.

        164.      PPAS responds to the allegations in paragraph 164 of the Complaint by referring

 the Court to the referenced Intercreditor Agreement for its terms.

        165.      PPAS responds to the allegations in paragraph 165 of the Complaint by referring

 the Court to the referenced Intercreditor Agreement for its terms.

        166.      PPAS states that the allegations in paragraph 166 of the Complaint constitute

 legal conclusions for which no response is required and otherwise denies the allegations in

 paragraph 166.

        167.      PPAS lacks knowledge or information sufficient to form a belief as to what the

 Trustee purports to request and otherwise denies the allegations in paragraph 167 of the

 Complaint.

        168.      PPAS and Ark II repeat their responses to the allegations in the prior paragraphs

 of the Complaint as if fully set forth herein.

        169.      PPAS and Ark II respond to the allegations in paragraph 169 of the Complaint by

 referring the Court to the referenced Security Agreements for their terms.

        170.      PPAS and Ark II respond to the allegations in paragraph 170 of the Complaint by

 referring the Court to the referenced Security Agreements for their terms.




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        171.    PPAS and Ark II state that the allegations in paragraph 171 of the Complaint

 constitute legal conclusions for which no response is required and otherwise deny the allegations

 in paragraph 171.

        172.    PPAS and Ark II, upon information and belief, admit the allegations in the first

 sentence of paragraph 172 of the Complaint. PPAS and Ark II state that the allegations in the

 second sentence of paragraph 172 of the Complaint constitute legal conclusions for which no

 response is required and otherwise deny the allegations in the second sentence of paragraph 172.

        173.    PPAS and Ark II lack knowledge or information sufficient to form a belief as to

 what the Trustee purports to seek and otherwise deny the allegations in paragraph 173 of the

 Complaint.

        174.    PPAS and Ark II repeat their responses to the allegations in the prior paragraphs

 of the Complaint as if fully set forth herein.

        175.    PPAS and Ark II respond to the allegations in paragraph 175 of the Complaint by

 referring the Court to the referenced court approved stipulation for its terms.

        176.    PPAS and Ark II respond to the allegations in paragraph 176 of the Complaint by

 referring the Court to the referenced court approved stipulation for its terms.

        177.    PPAS and Ark II respond to the allegations in paragraph 177 of the Complaint by

 referring the Court to the referenced court approved stipulation for its terms.

        178.    PPAS and Ark II respond to the allegations in paragraph 178 of the Complaint by

 referring the Court to the referenced court approved stipulation for its terms.

        179.    PPAS and Ark II admit that PPAS received the referenced payment and that said

 payment was made pursuant to the terms of the referenced stipulation.




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        180.    PPAS and Ark II respond to the allegations in paragraph 180 of the Complaint by

 referring the Court to the referenced proofs of claim for their contents and otherwise denying the

 allegations of paragraph 180 to the extent they imply any form of wrongdoing by PPAS or Ark

 II.

        181.    Upon information and belief, PPAS and Ark II admit the allegations in paragraph

 181 of the Complaint.

        182.    PPAS and Ark II state that the allegations in paragraph 182 of the Complaint

 constitute legal conclusions for which no response is required and otherwise deny the allegations

 in paragraph 182.

        183.    PPAS and Ark II deny the allegations in paragraph 183 of the Complaint.

        184.    PPAS and Ark II deny the allegations in paragraph 184 of the Complaint.

        185.    PPAS and Ark II deny the allegations in paragraph 185 of the Complaint.

                                       Affirmative Defenses

 Defendants assert their Affirmative Defenses to the Complaint as follows:

                                    First Affirmative Defense

        186.    The Complaint fails to state a claim upon which relief may be granted.

                                   Second Affirmative Defense

        187.    To the extent TransCare transferred any interest in property to or for the benefit of

 an alleged transferee during the preference period, such transfers were intended by TransCare

 and such transferee to be contemporaneous exchanges for new value given to TransCare, and the

 transfers were, in fact, substantially contemporaneous exchanges. 11 U.S.C. § 547(c)(1).




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                                    Third Affirmative Defense

         188.   The Trustee’s fraudulent conveyance claims are barred, in whole or in part,

 because each applicable defendant took the challenged transfer for value and in good faith and

 the debtors received reasonably equivalent value in exchange for the alleged transfers or

 obligations incurred. The transfers are thus not avoidable or recoverable as against each

 applicable defendant(s) under sections 548 and 550 of the Bankruptcy Code.

                                   Fourth Affirmative Defense

   The Trustee’s claims are barred, in whole or in part, because he lacks standing to bring them.

                                    Fifth Affirmative Defense

         189.   The Trustee’s claims are barred, in whole or in part, on the ground of mootness.

                                    Sixth Affirmative Defense

         190.   The Trustee’s claims are barred, in whole or in part, because the Debtors’ estate

 would be unjustly enriched it if were permitted to obtain recovery in this action.

                   Federal Rule of Bankruptcy Procedure 7012(b) Statement

         To the extent the Trustee’s claims are non-core, Defendants do not consent to the entry of

 final orders or judgment by the Bankruptcy Court with respect to such non-core claim or claims.


 WHEREFORE, Defendants demand Judgment:

    A.      Dismissing the Complaint with prejudice and in its entirety; and

    B.      Awarding Defendants such other and further relief as may be just and proper.




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 Dated: May 6, 2019                  PROSKAUER ROSE LLP

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